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PETER THOMPSON
2988 Blackbird Drive
Bozeman, Montana, 59718
                                                                   NOV 302018
406-570-0268                                                      Cfer1(, u.s. Courts
thompson0089@msn.com                                              Diatrict Of Montana
                                                                     Butte Oivi8ion
Pro Se

                   IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF MONTANA


                                             Cause No.
PETER THOMPSON
                          Plaintiff,
         -vs-


THE CITY OF BOZEMAN,                          TITLE 42 SECTION 1983, 1985, 1986, 1988
ATTORNEYS, GREGG SULLIVAN, KYLA                   CIVIL RIGHTS COMPLAINT
MURRAY AND TIM COOPER;
CHIEF BUILDING OFFICIAL BOB RISK              PLAINTIFF DEMANDS TRIAL BY JURY
POLICE OFFICERS: CAPTAIN JIM                     FOR ALL ISSUES SO TRIABLE
VELTKAMP AND OFFICER MARK
CARPENTER.

CATTAIL CREEK COMMUNITY
ASSOCIATION(S) OF PHASE I, II AND
III & OF THE 2008 COMBINED
COVENANT ASSOCIATION; AND
CATTAIL CREEK COMMUNITY
ASSOCIATION INCORPORATED;
AND : (HOA ACTING AND FORMER
BOARD MEMBERS)

]AYMIE L. LARSEN
2845 N. 27TH AVE. #4
BOZEMAN, MT 59718

SUE GREENO
3321 BLACKBIRD DRIVE
BOZEMAN, MT 59718

PETER NOREEN
3313 BLACKBIRD DRIVE
BOZEMAN, MT 59718



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JAY BLASKE
3355 SORA WAY
BOZEMAN, MT 59718

NEIL RAMHORST
3348 WARBLER WAY UNIT A
BOZEMAN, MT 59718

JOE SANDS
PO BOX 11842
BOZEMAN, MT 59719

RANDY SULLIVAN
2944 BLACKBIRD DRIVE
BOZEMAN, MT 59719

DANIELS MADISON
220 SACAJAWEA PEAK DR.
BOZEMAN, MT 59718

ROB PERTZBORN
518 N TRACY AVE
BOZEMAN, MT 59715

SANDRA (AKA SANDI) HAMILTON
4228 MARSALA AVE
MERIDIAN, ID 83642

LOLA JEFFERS
2775 MARLYN CT #4
BOZEMAN, MT 59718

JUSTIN TRIBITT
PO BOX 10053
BOZEMAN, MT 59719

SANDRA RUMMEL
2827 CATTAIL ST #1
BOZEMAN, MT 59718

JEREMYMAY
3095 CATKIN LANE
BOZEMAN, MT 59718



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JOHN HANSEN
3143 CATIAIL STREET UNIT C
BOZEMAN, MT 59718

MELINDA MAZE-TALARJCO
3147 CATKIN LANE
BOZEMAN, MT 59718

TYLER POWELL
3327 NORTH 27TH #15
BOZEJ\1AN, MT 59718

TRAVIS MUNTER
3395 SORA WAY
BOZEMAN, MT 59718

SANDY FEENEY
2969 WARBLER WAY #4
BOZEMAN, MT 59718

SANDY SAUNDERS
2943 WARBLER WAY #3
BOZEMAN, MT 59718

DARRJN STROSNIDER
3020 A BLACKBIRD
BOZEMAN, MT 59718

CALLIE MILLER
3062SUNDEW
BOZEJ\1AN, MT 59718

AMY HANSON
3352 FEN WAY
BOZEMAN, MT 59718

JENNINGS LAW OFFICE; AND
WAYNE JENNINGS
517 S 22NDAVE#3
BOZEMAN, MT 59718




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ABOVE AND BEYOND PROPERTY
MANAGEMENT; AND
EMPLOYEE DOE(S)
4055 VALLEY COMMONS DR UNIT E-2
BOZEMAN, MT 59718

WITTICH LAW;
AND ART WITTICH AND AMANDA
MENASCO
602 S FERGUSON AVE
BOZEMAN, MT 59718

SUSAN B SWIMLEY
1807 W DICKERSON STE. #B
BOZEMAN, MT 59715

MONTANA SECRETARY OF STATE
COREY STAPLETON
MONTANA CAPITOL BUILDING, RM 260
HELENA, MT 59620-2801

AMERICAN LAND TITLE COMPANY;
AND DOE(S) 1800 W KOCH ST# I
BOZEMAN, MT 59715

AT YOUR SERVICE CLEANING & HOA
MANAGEMENT INC.; AND JAYMIE L.
LARSEN
2845 N. 27TH AVE. #4
BOZEMAN, MT 59718

SANDANLLC
BOZEMAN, MT 59718

INTRINSTK ARCHITECTURE; AND ROB
PERTZBORN AND ALLISON GILLEY
111 N TRACY AVE
 BOZEMAN, MT 59715

RICHARDT. EMBRY
ARIZONA

           DEFENDANTS.




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        COMES Now Plaintiff, Peter Thompson, pro se, and for his Complaint against the

Defendants states the following:




                                          INTRODUCTION

        This is a civil rights and tort action complaint involving acts of conspiracy which seeks

injunctive relief, declaratory judgement and money damages, brought by the Plaintiff Peter

Thompson who is a victim of acts of institutional corruption, various forms and acts of, fraud,

malice, coercion, abuse of process, deceit, malicious prosecution, tortious interference, breach of

contract, breach of duty, intentional destruction of evidence, intentional infliction of emotional

distress, violation of the covenant of good faith and fair dealing, breach of duty to be reasonable

and conspiracy to commit all said acts. Plaintiff Peter Thompson is a victim of said acts at the

hands of the acting members of Cattail Creek Community Associations of Phase I, II and III, the

City of Bozeman, the State of Montana, the public benefit non-profit corporation of Cattail Creek

Community Association, Sandan LLC, At Your Call HOA Management, Above and Beyond

Management, Minnick Management Inc., Intrinsik Architecture, US Bank, American Land Title

Company of Bozeman, Jennings Law Office, Wittich Law, Richard Embry and other individuals

or entities whom have joined and or abetted and or acted as individuals involved in the illegal

acts associated with the common interests of these individuals, entities and enterprises.

       Injunctive relief, Declaratory judgement, nominal, compensatory and punitive damages

(where allowed by law) are sought against all defendants on all counts.

       PLAINTIFF DEMANDS TRIAL BY JURY ON ALL ISSUES SO TRIABLE.

                                        JURISDICTION

This action arises under the Fourth and Fourteenth Amendments to the United States




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Constitution, and under the Civil Rights Act of 1871, 42 U.S.C. sections 1983, 1985, 1986 and

1988. This Court has jurisdiction of this cause under 28 U.S.C. sections 1331 and 1343. Venue is

proper under 28 U.S.C. section 1391 in that the Defendants and Plaintiff resided in Montana

during time material to this complaint and the cause of action arises in the District of Montana.

                                                 PARTIES

I. The Plaintiff, Peter Thompson, ("Thompson") is an adult domiciled with his family in

Bozeman, Montana.

2. The Defendant Sandra Hamilton is not currently domiciled in Gallatin County, Montana, but

for times material to this complaint Sandra Hamilton was domiciled in Gallatin County.

3. The Defendant Richard T. Embry is not currently domiciled in Gallatin County, Montana,

current address is not known other than he is believed to live in Arizona.

4. All other above captioned individuals and entity Defendants are of Gallatin County Montana.



                                       Complaint Overview

       In 2008 Peter Thompson purchased a buildable lot in Cattail Creek Phase II Subdivision

to build a family home in an R2 area. In 2010 Thompson was advised by the City of Bozeman

that the City regarded his lot as RI and that Thompson could not buildout his planned basement

apartment without special permitting. In 2011 the area property management company noticed

Thompson that he was violating covenants; Thompson then met with property management

company staff and noticed they were endeavoring to enforce covenants that were different than

the covenants Thompson purchased under.

       Thompson requested a written explanation for various subjects discussed with the

management company, including how the covenants were changed during his ownership without




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his knowledge or consent. Acting members of the local HOA retained counsel and threatened

litigation that could result in the Thompson Family being precluded from living in their home

and the HOA said their lawyer would answer Thompson's questions but never provided answers;

while at the same time acting members of the HOA continued making voluminous complaints to

the City of Bozeman regarding the Thompson residence. Thompson hired attorney Art Wittich to

initiate a title insurance claim regarding the R2 vs RI issue, to advise if the covenants could have

been lawfully changed without Thompson's knowledge or consent and to comment on whose

fault this mess was.

        After receiving voluminous complaints from HOA members and keeping Peter

Thompson from accessing documents to support his title insurance claim, the City of Bozeman

breached construction permission agreements with Thompson in 2012, unlawfully revoked his

certificate of occupancy in 2013 and then falsely swore an affidavit to support criminal charges

against Thompson in 2014.

        In 2015 Peter Thompson wrote the HOA regarding perceived issues resulting from

interactions between the City and the HOA. Then both the HOA and the City brought litigation

against Peter Thompson in 2015. The City providing notice of criminal charges within 24 hours

of the acting HOA members serving Thompson with notice of civil complaint seeking an

injunction to preclude Thompson and his family from living in their home. The City's criminal

complaint relied on a straw man notice of complaint and perjured testimony to support their

desired results. The HO A's civil complaint relied on forged articles of incorporation. The

implied purpose of both complaints is to separate the Thompson family unit from their home as a

means of stopping Peter Thompson from maintaining an actionable position against local special

interests.




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        Throughout the course of defending criminal and civil litigation from 2015 to present,

Peter Thompson has suffered numerous and ongoing civil rights violations as well as various acts

of fraudulent concealment which evidence the pervasive influences ofreal-estate developers,

their friends and enabling associates. The evidence will show that Bozeman has a long history of

special real-estate interests which have resulted in institutional corruption oflocal government

and courts and that these special interests have conspired against the Thompson family unit

causing years of finical and emotional damages and deprivation of civil rights by associations,

corporations and individual acting under color of law.

                                   Facts, Allegations and Law

I. The State of Montana, acting as Plaintiff, filed criminal charges against Peter Thompson in the

matter of CR-14-00070.

2. On May 27, 2014, while acting under color oflaw in the name of the State of Montana,

Bozeman City Attorney Kyla Murray swore an affidavit in support of criminal charges alleged

against Peter Thompson in the matter of CR-14-00070.

3. The May 27, 2014 affidavit needed to provide the municipal court with an explanation of why

Peter Thompson did not have a Certificate of Occupancy to support the 2014 charges against

Thompson.

4. The Affidavit of Attorney Kyla Murray stated that on June 30, 2011 Peter Thompson had

failed to comply with terms of a construction permission contract between Thompson and the

City of Bozeman as follows: "The Defendant had failed to comply with life safety issues

identified in the Agreement including a fire safety barrier between the downstairs and upstairs of

the structure. Consequently, no Certificate of Occupancy was issued for the basement or the

upstairs structure."




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5. On June 30, 2011, then City code enforcement officer Paula Frojae made a routine electronic

journal entry as follows:

"June 30, 2011 4:25:45 PM pfroaje.

Tim and I met Peter at his house today. Peter met all the requirements that were in his contract to

complete. I will go back to the house in one month."

6. On information and belief, Peter Thompson alleges that Bozeman Attorney Kyla Murray

conspired with Bob Risk and Paula Frojae to commit fraud upon the court in the matter ofCR-

14-00070. This as part of their ongoing civil rights conspiracy against the Thompson Family

Unit, doing so under the direction and supervision of City Attorneys Gregg Sullivan and Tim

Cooper.

7. In 2015, The City of Bozeman, acting by and through Police Captain Jim Veltkamp (badge

#155), issued a notice to appear and complaint. Notice to appear and complaint were sent to

Peter Thompson via US postal Service. The Municipal Court assigned this complaint case

number: TK-2015-03459, commonly referred to as TK-15-03459. Captain Veltkamp was acting

under color of law when he executed the sworn notice\ complaint statement. Captain Veltkamp's

sworn statement criminally charged Peter Thompson with violation of BMC 1.01.210 on the 28th

day of May 2015 at 1400 hours.

8. TK-15-03459 needed to provide the municipal court with an explanation of the City's reasons

for acting. Bozeman City Attorney Kyla Murray while acting under color of law presented stare

decisis to make a case that City Building officials have a duty to act and that they may revoke

certificates of occupancy when there are serious safety concerns about a property.

9. In TK-15-03459 Bozeman City Attorney Kyla Murray while acting under color of law made

written argument alleging serious safety concerns by stating that "Upon the last inspection by the




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City there were apparent life safety issues in the unfinished home (unfinished electrical outlets

located next to children's toys etc.)."

I 0. At hearing on the 25th of August 2016, City Attorney Murray made oral argument that the

City had to act on known safety concerns and she then solicited sworn testimony from Chief

Building official Bob Risk regarding safety concerns for children relative to unfinished electrical

outlets and life safety issues he witnessed upon the last inspection by the City. Chief Building

official Bob Risk was acting under color of law when he provided his sworn testimony at this

August 2016 hearing. Mr. Risk's sworn account oflife safety issues was based on his site visit to

the Thompson home made on February 23, 2012. During this February 23, 2018 visit, Mr. Risk

directed Mrs. Frojae to write a correction notice regarding the uncovered electrical outlets in the

vicinity of children's toys.

11. On March 26, 2012, then City code enforcement officer Paula Frojae made a routine

electronic journal entry regarding the correction notice she had issued per Mr. Risk's site visit the

previous February 23, 2012, Frojae's subsequent entry as follows:

"March 26, 2012 3:53:56 PM pfroaje.

Today I met Peter for the monthly inspection. The

corrections from last month were all completed, regarding

the use of electrical outlets and switches had cover plates

installed."

12. Subsequent to the what City Attorney Kyla Murray and Chief Building official Bob Risk had

described in municipal court as "Upon the last inspection by the City there were apparent life

safety issues in the unfinished home (unfinished electrical outlets located next to children's toys

etc.)." (Mr. Risks observations being based on his site visit of2/23/2102) there were




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reinspections by the City on 3/26/2012, 4/27/2012, 5/23/2012, 6/21/2012, 8/23/2012 and

11/01/2012. Subsequent to Mr. Risk's visit on 2/23/2012 where the City issued a correction

notice for safety concerns, there were in 6 subsequent visits without the City expressing any

ongoing concern for safety issues.

13. On information and belief, Peter Thompson alleges that Bozeman Attorney Kyla Murray and

Bozeman Chief Building official Bob Risk conspired to deceive the Municipal Court regarding

"life safety issues in the unfinished home" as part of their ongoing civil rights conspiracy against

the Thompson Family Unit, doing so under the direction and supervision of City Attorneys

Gregg Sullivan and Tim Cooper. This alternatively plead as Fraud Upon the Court and

conspiracy to commit because the City failed to fulfill their duty to produce impeaching

evidence, acting in furtherance of the conspiracy.

14. On information and belief, Peter Thompson alleges that Doe(s) conspired with Bozeman

Police Captain Jim Veltkamp to make a straw man complaint against Peter Thompson without

probable cause; and that Bozeman Police officer Mark Carpenter joined this conspiracy and that

Doe(s) of the Bozeman City attorney's office then joined this conspiracy. Subsequently all

conspirators ended up acting in furtherance of the City's ongoing civil rights conspiracy against

the Thompson Family Unit, doing so under the direction and supervision of City Attorneys

Gregg Sullivan and Tim Cooper. All involved acting under the color of law.

15. On information and belief, Peter Thompson alleges that officer Mark Carpenter normally

prints and signs his own reports as originals and that his first true, unedited report in the matter

ofTK-15-03459 was disregarded and that Doe(s) provided direction on editing his report and or

used his computer to alter Carpenter's original report after it was first completed on 6/10/2015.

16. Carpenter's report is attached as Exhibit I. Carpenter's report states that on May 26, 2015,




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he was tasked by Captain Jim Veltkamp to see" If Peter Thompson and his family were living at

2988 Blackbird Dr illegally and ifhe was, I was to issue a citation for occupying a residence

without a certificate of occupancy."

17. On May 27, 2015 Carpenter reports he visited the Thompson residence but found no one

home to speak with and that he left his card in the door.

18. On May 28, 2015 Carpenter reports that he received an email from Thompson in response to

leaving his card on the Thompson residence door and that he was invited to email and or contact

Thompson via phone at either of two phone numbers provided.

19. On May 29, 2015 Carpenter reports that he advised Thompson that Carpenter had a citation

for Thompson and that Thompson could receive service of this citation on a weekday at the

police department.

20. At hearing on August 25, 2016 Carpenter testified that he filed out the citation but that he did

not execute the citation. After Carpenter filled out the notice of complaint he brought the

document to Captain Jim Veltkamp and the Captain then executed the sworn notice of complaint

which officer Carpenter had filled out.

21. Officer Carpenter's report states that on May 29, 2018 after Carpenter had advised

Thompson he had a citation to issue, he and Thompson then exchanged emails and phone contact

thru June 3, 2015. By June 3, 2015 Carpenter and Thompson had made "a deal" that Carpenter

would postal mail the citation to Thompson and Thompson would sign the citation and email a

copy back to Carpenter. This "deal" due to schedule conflicts with Thompson working out of

state during the week and Carpenter not willing to meet Thompson on a weekend when he was in

state.

22. Carpenter reports that after he made the June 3, 2018 deal with Thompson to sign and return




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a copy of the citation executed by Captain Jim Veltkamp, that Carpenter then contact Chief

Building official Bob Risk to make sure there was no valid Certificate of Occupancy for 2988

Blackbird drive and that Carpenter then decided to also speak with Thompson's neighbor's to

ascertain if the Thompson family was living in the house.

23. Carpenter reports contact with neighbor's on June 5, 2018, several neighbors stating the

Thompson family was living there and then Carpenter received an email from Chief Building

official Bob Risk on this same day stating that "yes occupancy was still an issue and that it was

in the city attorney's hands and that building department was not working on the case at all.".

Carpenters report then leaves a space big enough for a signature, but does not sign his report and

then close as follows:

"My report is complete. Mark Carpenter 6/10/15"


24. The City ofBozeman's discovery CD in TK-15-03459 included a call for service report. See

Exhibit 2. The City of Bozeman Police Department is alleged to be a complaint based response

agency. The Call For Service report which TK-15-03459 is alleged to be a byproduct of, states

that officer Mark Carpenter received a call for service complaint of a nuisance from the City

Attorney at 2988 Blackbird Drive (this implies City Attorney Gregg Sullivan) on June 10, 2015

at 10:38 AM and that Carpenter was then dispatched on June 10, 2015 to follow up on the

complaint of the City Attorney.

25. The City ofBozeman's discovery CD in TK-15-03459 included the word document from

which the filed copy Officer Carpenter's report was printed from. This electronic document

evidences that a full copy of carpenters report was 3 pages and that 3 page of the filed version

was blank, page 4 of Exhibit one is a screen shot of the properties tab of the carpenter report.

The properties tab shows that the report as created on 6/10/2015 at 9:44AM and that total editing




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time was 14 minutes. Of these 14 minutes of total editing time, the last modification to the

report was made on 6/11/2015 at 7:47 AM.

26. On information and belief Peter Thompson alleges that Captain Jim Veltkamp and fellow

Police Officer Mark Carpenter are not sufficiently trained to know how to determine if someone

is living in a residence with a valid certificate of occupancy because neither police department

workers ever asked Peter Thompson to see a copy of his certificate of occupancy. Rather the

complaint filled out by Carpenter and executed by Veltkamp was first executed and then a weeks

long investigation was initiated to support the issued citation with the investigation yielding

nothing more than hearsay statements to support the previously executed notice of complaint.

       Competently trained officers enforcing compliance with certificate of occupancy

requirements would be sufficiently trained to know that once issued, a certificate of occupancy is

a conclusive document which is binding and conclusive upon all government actors, see MCA §

50-60-107 Certificate of occupancy, ie, if Veltkamp or Carpenter had asked to see Thompson's

certificate of occupancy and it was shown to them, Veltkamp and Carpenter would be required

by law to respect the binding and conclusive document or produce a order from a court of

competent jurisdiction that set aside the issued certificate of occupancy.

       In this case, an email from Chief Building Official Bob Risk which states "occupancy

was still an issue and that it was in the city attorney's hands and that building department was not

working on the case at all" does not rise to the level of lawfully required probable cause to

execute a citation in a matter where the alleged defendant has not even been asked to show a

copy of the original issued certificate of occupancy. In the time line of our circumstances,

probable cause for Captain Jim Veltkamp to execute the complaint did not exist at the time of

execution of the complaint on May 28, 2015 and after a weeks long investigation which "ended"




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on June 10, 2015 the investigation failed to produce any evidence to support probable cause to

issue the previously executed complaint of Captain Jim Veltkamp.

        Captain Veltkamp's complaint has caused and continues to cause years of emotional

distress, financial damages and civil rights violations against Peter Thompson and his family.

27. Though there have been a series of motions to dismiss TK-15-03459 for lack ofa speedy

trial, the case remains open and live as we approach the year 2019. So far, the City of Bozeman

has been unable to obtain findings of fact or conclusions of law from the Honorable Judge Carl

Seel to support the City's complaint.

        However, recently appointed district court judge, the honorable Rienne H. Mc El yea came

from a private practice law firm whose client list includes the City of Bozeman and the

Developer of the local subdivision where Thompson's property is located and she presided over

the civil complaint of the acting HOA members against Thompson.

        It follows that the Bozeman City Attorney's Gregg Sullivan and Tim Cooper and Chief

Building official Bob Risk have had a series of meetings with attorney Wayne Jennings

representing the acting members of the local HOAs (Cattail Creek Community Associations) and

in the civil complaint (DV-15-636) against Thompson Mr. Jennings has established findings of

fact and conclusions oflaw in Judge McElyea's courtroom concisely as the City has endeavored

but thus far failed to obtain in the Municipal Courtroom of Judge Seel.

        On information and belief Peter Thompson alleges Wayne Jennings and the acting

members of the local HOA have conspired with the City of Bozeman and its employees to

violate Peter Thompson's civil rights.

28. On information and belief, Peter Thompson alleges a long running series of meetings and

communications between City of Bozeman employees and the acting members of the local HOA




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in the matter ofDV-15-636. These meetings culminating in the conspiratorial purpose of

obtaining findings of fact and conclusions oflaw unnecessary to DV-15-636 but findings of fact

and conclusions that are particularly beneficial to the City's criminal complaint TK-15-03459.

Thus the Plaintiff in DV-15-636 aids and abets the ongoing Civil Rights conspiracy of the City

against Peter Thompson and his family.

29. Bozeman City workers, principally City Attorney Gregg Sullivan and Chief Building official

Bob Risk, met and collaborated with acting members ofHOA's by and thru Wayne Jennings via

phone, emails and in person meetings on the following days: 7/30/2013, 3/13/2017, 5/17/2017,

6/22/2017, 7/26/2017, 8/2/2017, 8/4/2017, 12/22/2017, 1/31/2018, 2/8/2018.

30. On information and belief, Peter Thompson alleges additional conspiratorial meetings

between the acting members of the HOA and the City of Bozeman and its employees for date

ranges described above including communications with Captain Jim Veltkamp and City attorney

Tim Cooper.

31. Each of the foregoing and following facts and allegations of fact are incorporated by

reference into each individual count of complaint. Further, each line and each exhibit of the

attached 85 page affidavit are incorporated into each of the foregoing and following complaints.

32. Attached 8 pages bearing the following footer;

 DV-15-636C - 4/25/206 - Answer +Affirmative Def.+ Counter and Third Party Outline : Page 20 of 27

State claims as counter claims Peter Thompson endeavored to previously file in DV-12-636.

However the district court did not recognize the filed documents as counter claims, subsequently

the named parties as Plaintiff vs Defendant etc. are not exactly accurate for this current filing,

however the facts and counts of complaint are herewith incorporated as counts of this complaint

wherein Peter Thompson is now the acting Plaintiff. It follows that the 85 pages of affidavit and




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supporting documents are incorporated as the foundation of these 8 pages.

33. Susan Swimley has breached her duty to the association and abetted the acting board

members in fraudulent concealment of forged articles of incorporation and fraudulent

concealment of unlawful covenant contract amendments. See attached notice of complaint for

counts against the State of Montana and the Montana Secretary of State.

34. In 2006 acting HOA board members breached their duty of obedience to the covenant

contracts which they were administering and then fraudulently concealed these actions from the

affected property owners. These usurping acting HOA members committed similar breaches of

duty and fraud in the 2008 covenant contract refiling and these same members continue similarly

by incrementally amending covenants via unauthorized alterations of the design regulations. In

so doing these usurpers take away property owners rights without their knowledge or consent

while unlawfully inuring the powers of the acting HOA members.

35. Acting HOA members have destroyed documents which could be used against them and

Peter Thompson has been damaged.

36. US Bank has abetted the civil rights conspiracy of the City by not producing requested

documents which could be used to evidence negligence of the City in managing zoning

documents of record. Additionally US Bank has breached contract by making loan a variable

rate when the applied for terms were for a fixed rate. US Bank has also breached contract by

converting construction aspect of the loan package to principal and interest payments when the

applied for contract allowed for as many extensions of the construction duration as Peter

Thompson needed to complete the work. US Bank has concealed deviations from the agreed to

terms by misleading supplemental documents.

37. Acting members of the HOA have conspired with their attorney Wayne Jennings to violate




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Peter Thompsons civil rights in the matter of DV-15-636 by abusing process in an attempt at

ratification, by preventing Thompson from having a full and fair use of the legal system, by

conspiring with the bench to ignore filed counter claims, by conspiring with the bench to commit

fraud upon the court in damaging Thompson with assessments of costs which Mr. Jennings had

procedurally waived, by Mr. Jennings abetting the acting members forgeries in an effort to inflict

money damages against Peter Thompson.



Wherefore, Plaintiff prays this Honorable Court for relief as would be typical and appropriate to

all foregoing complaints, compensatory and punitive damages and for any other relief deemed

just by this Court and for costs.



Dated this 30th day ofNovember 2018.




                                                  Peter Thompson Pro Se




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                                     Report of Investigation

        Date:                     5/26/15

        Case Number:              2015000604

        Reporting Officer:        Mark Carpenter

        Subject:                 2988 Blackbird




On Tuesday May 26th I was asked by my supervisor Captain Veltkamp to start an investigation to see

If Peter Thompson and his family were living at 2988 Blackbird Dr illegally and if he was, I was to issue a
citation for occupying a residence without a certificate of occupancy. I went by the residence with
Officer Ga ppm ayer on Wednesday afternoon the 27th of May. We knocked on the front door waiting for
someone to answer. There were 2 vehicles in the driveway. I noticed flowers in the upstairs window sill
and also a kid's bike on the front porch so I thought someone would be there. After a few minutes of
waiting, no one answered the door so I left my business card on the front door to call me at my office
number.

The next day I received an email from Peter Thompson mentioning that his wife found my card in the
front door and that it was distressing to his family that I would show up unannounced. He asked that
any further contact with him be through email or calling him on 1 of 2 phone numbers he provided me.
He also mentioned that if I had papers that needed to be given to him, he said he would accept service
at a place of my choosing, to just send him an email and he would come and pick them up.

On 5/29/15 I told Peter I would have paperwork for him at the downtown police station, to just let me
know what time he could be there. He emailed back on the 29 th and said he could meet Saturday and
wanted to know the nature and topic of the paperwork. I answered right back on the 29 th and told him I
was not in on the weekends, only M-F 8-5 and that it was a citation

He wrote right back and thanked me for the note, and wanted to know what the citation was for. He
said he was in Wyoming during the week and asked if I could scan and email him the citation or mail it to
his home address at 2988 Blackbird Dr. My response to him was that it was a citation on behalf of the
building department and that I needed to give it to him in person. He responded right back saying he
would get in touch with me when he had time during the week.




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On Tuesday June 2"' I emailed Peter back because I had not heard from him and asked when he could
come in and get this paperwork done.

Peter replied to me on Wednesday the 3'' and reminded me he worked out of town and if I wanted to
meet him during the week I could do it where he worked. I decided to call Peter at the number he gave
me and told him I apologized for being confused about his meeting me during the week. I told him it was
a citation for living in the house without a certificate of occupancy. He said OK can you scan it to me, I
said I would find out but asked him if I sent it certified and restricted delivery so I would know that he
got it. He said he was not going to waste time at the Post office to sign for a letter from us. He asked if I
would mail it regular mail, he would scan it and let me know he received it when he got back in town. I
contacted Bob Risk to make sure that there still was not a COO and want to go talk to neighbors.

The first neighbor I talked to was Brenda Craig who lives at 2962 Blackbird Ln. I told her why I was there
and asked her if she had any doubt at all in her mind that the Thompson's were living at 2988 Blackbird
Ln. She told me she absolutely had no doubt. She said Mrs. Thompson comes over when they are
outside and chats about her kids and other things. Mrs. Craig mentioned that she sees Mrs. Thompson
come and go from the property all the time, walk the dog a couple times a day. She also mentioned that
the Thompsons 2 kids catch the School bus out front of the house. Brenda also said that Mrs. Thompson
has talked to her about them living in the basement and wanting to rent out the upstairs of the home.
She mentioned that she didn't think that was possible because it is not zoned for multi family living.

She mentioned that the Thompsons house had multiple power meters on it, I asked if I could go into her
yard so I could see them, she took me into her back yard and I snapped a couple photos of the multiple
power meters and the 2 gas meters. Brenda also mentioned that living next to her was Randy Sullivan
who is the Design and Review Liaison for the Cattail subdivision. So I went to his place which is at 2944
Blackbird Ln. He answered the door, I introduced myself, told him why I was there and asked Randy if he
had any doubt at all that the Thompsons were living at the address in question. He said no and that the
Thompsons have been living there since he moved in to his place. Randy mentioned he might still have
some correspondence that he had with the City in the past and that he would email it if he found it.

Around 1:30pm on the 5th of June, I did receive an email from Randy that he originally sent to Paula
Frojae who at the time worked for the building and planning division. It mentioned to her that in January
of 2014 the Thompsons were living in their home.

I received an email from Bob Risk around 4:20 on the 5th . He said yes occupancy was still an issue and
that it was in the city attorney's hands and that building department was not working on the case at all.




My report is complete. Mark Carpenter 6/10/15




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Info
CARPENTER-Investigation Notes- 2988 Blackbird Ln
Documents; » Peter ,. City8ozemanMuni<:ipa!,., CitationMayl 5th,. City Discovel}' Disk


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                                                                                                Printed: November 3, 2015
Calls For Service Report         Call ID: 2015000604

1. Agency                         2. Person Received      3. Date/Time Received      5. Time Arrived      7. Case#
                                    Complaint             06/10/2015     10:38
              BPD
                                                          4. Time Dispatched         6. Time Complete                -
                                  Carpenter, Mark Alan
                                                                   10:38                    :
8. Nature Of Incident       Nuisance                                      Property


9. Location Of
   Incident                 2988 BLACKBIRD DR, BOZEMAN                   MT

                            CITY ATTORNEY
10. Victim or Caller        2988 BLACKBIRD DR, BOZEMAN

11. Classification         12. How Received            13. Disposition        14. Officer               15. Date Submitted
  GENERAL POLICE                    PHONE                 FOLLOW UP            Carpenter, Mark Alan        06/10/2015




Notes: 198 5/26/15 All info in working folder




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Based on information and belief the Defendant asserts the following Counter Claims and

third party claims.

As a direct and proximate result of each claim below, the Defendant's family suffered finical

and or medical and or property damages and or non-monetary damages and or civil rights

violations actionable under Sect 1983.

Defendant seeks punitive and compensatory damages where allow by law in an amount to be

determined by the Court, relative to each count and alternative pleading below:



I. Mistake of the Plaintitrs(Jane Doe(s)John Doe(s)), Sandan LLC- Sandra D Hamilton -

Daniel S Madison, Tntrinsik Architecture - Rob Pertzbom - Allison Gilley in creating contract

no.2300076, per the particular facts alleged above. This set of facts alternatively plead as


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constructive fraud and or fraud and Conspiracy to commit by John Doe(s) and Jane Doe(s)

This count alternatively plead as part of a RICO act conspiracy.

2. Tortious Interference and Conspiracy to commit: The Plaintiff (John and Jane Doe(s)) did

interfere with the Defendants Building permit via influential communications with the City of

Bozeman Building department about May of 2011. John Doe(s) and or Jane Doe(s)

conspiracy to violate civil rights of Thompson family. This count alternatively plead as part

of a RICO act conspiracy.

3. Tortious Interference and Conspiracy to commit: The Plaintiff(John and Jane Doe(s)) did

interfere with the Defendants written agreement with the City of Bozeman Building

Department in the summer\ fall of 2012. John Doe(s) and or Jane Doe(s) conspiracy to

violate civil rights of Thompson family. This count alternatively plead as part ofa RICO act

conspiracy.

4. Tortious Interference and Conspiracy to commit: The Plaintiff (John and Jane Doe(s)) did

interfere with the Defendants Certificate of Occupancy issued by the City of Bozeman

Building Department in 2010. C ofO was then revoked and by the City of Bozeman without

due process in the spring of 2013 .. John Doe(s) and or Jane Doe(s) conspiracy to violate civil

rights of Thompson family. This count alternatively plead as part of a RICO act conspiracy.

5. City of Bozeman's Bob Risk: Breach of Contract, Breach of Fiduciary Duty, violation of

the Covenant of Good Faith and Fair dealing and violation of Defendants constitutional

liberty interest protected under Section 1983 5.1.B. I .d. in the revocation of Defendants

building permit no. 08-7345 about May of 2011. Conspiracy to violate civil rights of

Thompson family. Also as element of Count 2 above. This count alternatively plead as part

of a RICO act conspiracy.




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6. City ofBozeman's Bob Risk: Breach of Contract, violation of the Covenant of Good Faith

and Fair dealing in City's failure to fulfill terms of written agreement(dated June 6, 2011:

breeched December of2012) with the Defendant. John Doe(s) and Jane Doe(s) Conspiracy

to violate civil rights of Thompson family. Also as element of Count 3 above. This count

alternatively plead as part of a RICO act conspiracy.

7. City ofBozeman's Bob Risk: Breach of Contract, Breach of Fiduciary Duty, violation of

the Covenant of Good Faith and Fair dealing and violation of Defendants constitutional right

to Substantive Due Process per Section 1983 5.1.B. l .e in the revocation of Defendants

Certificate of Occupancy no. 10-10130 on 7-30-2013 without due process. John Doe(s) and

Jane Doe(s) Conspiracy to violate civil rights of Thompson family. Also as element of Count

4 above. This count alternatively plead as part of a RICO act conspiracy.

8. City ofBozeman's Kyla Murray: Breach of Fiduciary Duty and conspiracy to commit civil

rights violations (Greg Sullivan) to commit. In failing to respond appropriately when issues

of counts 5 thru 7 above were brought to their attention.

9. American Land Title Company (John and Jane Doe(s)): Mistake, alternatively plead as

Constructive Fraud and Fraud and conspiracy to commit. ALTC made notarized attachment

to Defendants Closing documents of document no. 2300076 bearing the date of Defendants

closing. Document no. 2300076 did not exist until a point in time after Defendants closing

on lot within the HOA. Other ALTC documents presented at closing had deleted\ missing

pages that accurately depicted type of structure to be built and were also missing the appraisal

report stating that zoning was by restrictive covenant: The result being concealment of

purchasers intended use of lot, within documents prepared by ALTC, based on flawed

encumbrances of title vs the allowable use of Lot. This count alternatively plead as part of a




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RICO act conspiracy. This count alleged as actionable under the Montana Consumer

protection act.

10. Plaintitrs(Jane Doe(s)John Doe(s)), Sandan LLC- Sandra D Hamilton - Daniel S

Madison, Intrinsik Architecture - Rob Pertzborn - Allison Gilley, American Land Title

Company - Brad Stratton, Richard Embry and Wittich Law Firm-Art Wittich-Amanda

Menasco : Conspiracy to commit and or conceal fraud detailed in Count 9 above. This count

alternatively plead as part of a RICO act conspiracy. This count alleged as actionable under

the Montana Consumer protection act.

11. Plaintitrs(Jane Doe(s)John Doe(s), Sandan LLC- Sandra D Hamilton - Daniel S Madison,

Intrinsik Architecture - Rob Pertzborn - Allison Gilley-Susan Kozub and Wittich Law Firm -

Art Wittich : Conspiracy to commit fraud as detailed in Count I above. This count

alternatively plead as part of a RICO act conspiracy. This count alleged as actionable under

the Montana Consumer protection act.

12. Sandan LLC-Sandra D Hamilton - Daniel S Madison, City of Bozeman-Dave Skelton-

Susan Kozub and TD&H Engineering (John\ Jane Doe(s)): Mistake alternatively plead as

constructive fraud and fraud: in the preparation, filing, approval and acceptance of documents

establishing Cattail Creek Phase TT. Wherein terms known to be scheduled for obsolescence

about 2 months after filing were used. The term of R2 was used in the preparation, filing,

approval and acceptance of documents that established Cattail Creek Phase II. About 7 weeks

after documents were filed the meaning of R2 changed from that of single family medium

density to that of two family medium density: It was signed to be future law and known prior

to approval and acceptance of the R2 terms thru out the Cattail Creek Phase II documents, in

the Documents of record, that the meaning ofR2 would change shortly thereafter. So

between 2004 and the spring of2008 the documents of record at the County Court House and



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those of the City into about 2011, where positive zoning confirmations are made, stated R2.

Various parties relied on these documents in transacting lots of Cattail Creek Phase IT (2004

to about 2011) with various parties believing they were transacting lots zoned for two

household lots of medium density; The City and the HOA years later after the fact informing

people only as compelled to, thru the application for construction process, regarding details

of this mistake after numerous transactions occurred (There are lot owners out there that

probably still think they own a two household lot). Alternative pleadings of these facts relate

to the probability that documents may not have been approved by County and or City

officials if the documents had accurately disclosed the true nature of the platted lots proposed

for approval as low density RI lots. Pre plat approval documents call out County zoning in

this area as R3 Medium Density; it is unlikely that County officials would have knowingly

approved special zoning in this area that restricted the use of 42 quarter acre lots to only

allow for RI low density single family dwelling units in this area. Approval of RI low

density lots in this area is likely to be in conflict with the Bozeman 2020 growth policy. This

count alternatively plead as part of a RICO act conspiracy. This count alleged as actionable

under the Montana Consumer protection act.

13. Sandan LLC-Sandra D Hamilton - Daniel S Madison, City of Bozeman-Dave Skelton-

Susan Kozub and TD&H Engineering (John\ Jane Doe(s)): Conspiracy to commit fraud per

facts of count 12 above. This count alternatively plead as part of a RICO act conspiracy.

14. Cattail Creek Phase II-(John \ Jane Doe(s)) HOA: Mistake in not correcting use of

obsolete and misleading terms within document no. 2131569 in a timely manner and failure to

do so in such a way that the correction and need for the correction was properly made known to the

affected parties. This count alternatively plead as part of a RICO act conspiracy. This count

alleged as actionable under the Montana Consumer protection act.



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15. City of Bozeman - Greg Sullivan, Kyla Murray, Ryan McCarty and Paula Frojae: Fraud Upon

the Court. In City's manufacture of statements of complaint not support by material facts, false

reports and the manufacture of evidence in preparation and litigation of CR-14-70. Conspiracy to

Commit and use of the US postal service is doing so. Plaintiff's (Jane Doe(s)John Doe(s)) as

coconspirators. This count alternatively plead as part of a RICO act conspiracy. This count

alleged as actionable under the Montana Consumer protection act.

16. City of Bozeman - Greg Sullivan, Kyla Murray, Ryan McCarty: Malicious Prosecution in

litigation ofCR-14-70. Conspiracy to Commit and use of the US postal service is doing so.

Plaintiffs (Jane Doe(s)John Doe(s)) as coconspirators. This count alternatively plead as part

of a RICO act conspiracy. This count alleged as actionable under the Montana Consumer

protection act.

17. City of Bozeman - Greg Sullivan, Kyla Murray, Ryan McCarty: Obstruction of investigation of

Defendant in CR-14-70 in violation of MCA 46-15-330 Investigation not to be impeded.

Conspiracy to commit per parties above with Mike Lily and Tim Cooper as persons of interest

regarding conspiracy of this count. This count alternatively plead as part of a RICO act

conspiracy.

18. City of Bozeman - Kyla Murray: Swearing of False statements for warrant in the matter of CR

14-70. This in violation of Defendant's civil rights per 42 U.S.C. § 1983. Conspiracy to commit

with Greg Sullivan and Paula Frojae as coconspirators. Plaintiffs (Jane Doe(s)John Doe(s)) as

coconspirators. This count alternatively plead as part of a RICO act conspiracy. This count

alleged as actionable under the Montana Consumer protection act.

19. City of Bozeman - Chis Saunders : Mistake in stating ADU dwelling unit of Defendant was non-

conforming in zoning history report of December 29th, 2011. Alternatively plead as Breach of

Fiduciary duty and violation of the Covenant of Good faith and fair dealing via knowledge of and



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failure to disclose that ADU's for lots of this size were, at the time of permitting the work, required

to be allowed use in conformance with the Work force housing ordinance. This count

alternatively plead as part of a RICO act conspiracy. This count alleged as actionable under

the Montana Consumer protection act.

20. City of Bozeman - Chris Saunders, Dave Skelton, Susan Kozub, Sandan LLC-Sandra D

Hamilton - Daniel S Madison, Plaintiffs (Jane Doe(s)John Doe(s): Conspiracy to violate

tenants of work force housing ordinance in requiring ADU's as allowed use for RI low

density lots. This count alternatively plead as part of a RICO act conspiracy. This count

alleged as actionable under the Montana Consumer protection act.

21. City of Bozeman: Executory accord as cause of action to compel City to restore

Defendant to position of having valid building permit no. 08-7435 and valid Certificate of

Occupancy no. I 0-10130. The City having breached the written agreement, drafted by the

City, with the Defendant, the Defendant is there by entitled by contract law to return to the

terms of the original contract. Defendant denies that the C ofO no 10-10130 was affected or

related to the written agreement.

22. Malicious prosecution, violation of civil rights and conspiracy to violate civil rights in the

matter ofTK -15-03459.

23. Institutional Corruption based on the sum of the above Counts including the City of

Bozeman. Alternatively plead is Enterprise Corruption. Alternatively plead as part of a

RICCO act conspiracy.




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                                               Peter Thompson                           I of5
                                             2988 Blackbird Drive
                                           Bozeman Montana 59718
   Phone 406-570-0268                                                      Email: thompson0089@msn.com


To: Montana Secretary of State Corey Stapleton                                September 16, 20 l 8
Montana Capitol Building, Rm 260
P.O. Box 202801                                                               Delivered via US Mail.
Helena, MT 59620-2801
406-444-2034                                                                  PDF copy of this doc on
                                                                              attached CD.
CC: Kelley L. Hubbard
Assistant Attorney General
PO Box 200151
555 Fuller Ave.
Helena, MT 59620-0151
Phone: (406) 444-2026 khubbard@mt.gov

CC: Susan B Swimley
1807 W Dickerson Ste. #B
Bozeman, MT 59715
Phone number (406) 586-5544


Regarding: Notice Of Complaint.

Dear Mr. Stapleton,

        Please regard this letter and the attached documents as notice of complaint pursuant to MCA 2-9-

301.

       The purpose of this letter is to inform you of managerial issues with your departments work.

This in hope that you will respond fairly and in the interests of the people of Montana vs continuing to

ignore complaints of illegal filings with your office as a means of helping "commerce thrive" at any cost

to the people affected by unlawfully formed entities licensed by your office. Regarding MCA 2-9-301

as follows:

Rouse v. Anaconda-Deer Lodge County, 817 P.2d 690, 250 Mont. 1 (1991 ).
"the statutory requirements enacted by the legislature mandate a plaintiff asserting a cause of action
against a governmental entity to first file a claim against that entity before filing an action in district
court. The purpose of such statutes is the furtherance of the public policy to prevent needless litigation
and to save unnecessary litigation expenses by affording an opportunity to amicably adjust and settle all
claims before suit is brought. See 56 Am.Jur.2d, Municipal Corporations,§ 686, p. 730 (1971)."



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                                               Peter Thompson                           2 of5
                                             2988 Blackbird Drive
                                           Bozeman Montana 59718
   Phone 406-570-0268                                                      Email: thompson0089@msn.com

        Mr. Stapleton, contact was made over the phone with your office about the first week of

February 2018, your office may have a full or partial recording of this call. I spoke with Katie

Summers. My understanding from this conversation was that your office would not issue nonprofit

articles of incorporation if your office knew that the members claimed in the incorporation did not know

they were becoming members, it follows that it was understood your office should not continue to

endorse \ facilitate formation under such circumstances. However your office could not act based on a

phone call and would need more. I advised I would send an email providing more and understood that

your office would get back to me promptly. I have not heard back from your staff. Attached pages I 00

thru 140 are documents sent to your staff. The documents sent to your staff included affidavit statements

and related documents which demonstrated that a 2006 corporation was formed without the knowledge

or consent of property owners bound by the articles of incorporation. Following the phone call with your

office, a range of documents were provided and a specific written request was made as follows:

"Katie, thanks for your time and help.

The short questions that I hope you or someone in your office can answer or give indication of your
offices inclinations, in writing before the end of the day, next Monday are;

A: Would your office have approved the incorporation in question had you been aware that the
individual property owners of the separate subdivisions had not consented or even known about the
incorporation?

B: With the sworn statements provided, does your office regard the incorporation papers as, " nugatory"
or as such papers that may be voidable?

       Regardless of what comments you or your office provide or are willing to provide, I would
appreciate electronic copies of the full original application, and recent filings. I am happy to pay for the
work to round up and email this information.

Sincerely,
Peter Thompson
406 570 0268 "




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                                               Peter Thompson                            3 of5
                                             2988 Blackbird Drive
                                           Bozeman Montana 59718
   Phone 406-570-0268                                                       Email: thompson0089@msn.com

        Mr. Stapleton, in hind sight, though your staff owed a duty of professionalism to do more than

remain silent after giving their assurance over the phone that your office would get back to me, the

document package described above was fragmented and disorganized. Since the contact with your

office described above, I have better studied the specific statutory issues and ended up in a position

where I declared a recent judgement against me void, because the articles of incorporation were forged

documents upon which the Plaintiffs standing was claimed.

        This declaration of void judgement is in the form ofan affidavit, so your office may regard it as a

bona fide complaint re-filed herewith. See attached pages 18 thru 27, supporting docs 28 thru 99.

        Prior to the initial contact with your office this past February, I swapped emails and spoke with

Montana's Assistant Attorney General Kelly Hubbard. My understanding from this conversation was that

though Mrs. Hubbard had read the documents and she did not offer any insight that would suggest the

provided affidavit did not evidence fraud or forgery, her office enjoyed prosecutorial immunity and

could not be influenced to become involved in remedying illegal activities of the HOA and related

nonprofit filings at your office. I also understood that Mrs. Hubbard had never heard of your office

involuntarily dissolving any incorporations based on fraudulent or forged filings with your office. Her

opinion was that even if I presented your office with bona fide proof of illegal filings it was unlikely

your office would do anything about the provided evidence of wrong doing. Her recommend was

private civil litigation to remedy the illegal actions of the HOA. So far the civil litigation approach has

not worked out in state court, this failure appearing to turn on your offices issuance of a certificate of

existence; and the presiding judge's conclusion that such certificate was sufficient evidence of existence,

despite your disclaimer regarding legal sufficiency on the face of the certificate. I expect this

deliberately erroneous conclusion regarding the legal sufficiency of the articles of incorporation is

because of bias in the bench, see attached pages 6 thru 17. Regardless, the bias in state court has



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                                                Peter Thompson                            4of5
                                              2988 Blackbird Drive
                                            Bozeman Montana 59718
   Phone 406-570-0268                                                        Email: thompson0089@msn.com

prevented action in counter claims and this now provides an opportunity to file claims as the Plaintiff in

US District Court. If and then when I do file a suite against your office, it will be part of a larger claim

of institutional corruption, breach of fiduciary duty and civil rights conspiracies against the state, its

political subdivision(s),the HOA entity, its boards of directors and its agents.

        The aspect of the claim against your office will be based on civil rights issues in your office's

predictable response to my February complaint, ie, your office has a known policy of helping commerce

thrive vs helping people who are victims of unlawful corporate action. For failure to train your staff on

how to appropriately handle contacts which complain about illegal corporate filings; and for failure to

have appropriate policy and procedures for your staffs use when contacted about fraudulent and or

forged corporate papers; and for abetting breach of fiduciary duty, forgery, fraud and fraudulent

concealment of the board of directors in continuing to service their state managed corporate status after

receiving affidavit statements demonstrating the illegal acts of the incorporators I usurpers.

        Your office has the affidavit statement of Sandra Rummel, pages 122 thru 129, which evidences

members of the separate HOA's were never asked if they wanted to incorporate, but were asked if they

wanted to become one mega HOA and that the owners did not approve of combining into one mega

HOA until years after they were secretly bound by the articles of incorporation as approved by your

office in 2006. Your office also has my affidavit of void judgement, pages 18 thru 27 which details the

statutory violations in the 2006 articles of incorporation.

       The objective of this notice of complaint is to encourage your office to improve "public policy to

prevent needless litigation and to save unnecessary litigation expenses by affording an opportunity to

amicably adjust and settle all claims before suit is brought.", ie, it is reasonable for the people of the

State of Montana to expect your office to have appropriate policies for situations which your staff may

be reasonably expected to encounter during the course of conducting the affairs of your office and



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          Case 2:18-cv-00075-BMM-JCL Peter
                                     Document     1 Filed 11/30/18 Page 35 of 120
                                           Thompson                                     5 of5
                                             2988 Blackbird Drive
                                           Bozeman. Montana 59718
   Phone 406-570-0268                                                      Email: thompson0089@msn.com

should your office promptly use the immediate circumstances to adopt appropriate policy this notice of

litigation would become moot.

        In this instance, when your staff receives affidavit statements regarding breaches of statutory

duties in filed articles of incorporation, most people would consider it reasonable to expect your office

to have a policy of providing notice of involuntary dissolution to said corporations who claim standing

under forged or fraudulent documents filed with your office. In the least your office should have a

policy of providing notice of intent to involuntarily dissolve such corporations pending their proof of

statutory compliance in the original filing of the articles of incorporation. Involuntary dissolution may

not be the correct notice in our circumstances, in the case of forged documents it may be more

appropriate that your office give notice that the articles of incorporation are nugatory and will no longer

be serviced by your office. In any circumstance, your office remaining silent under these circumstances

represents a breach of your duty to the public.

       It would be appropriate for your office to contact the attorney who filed the forged documents

and ask her if she was complicit or misled by others in participating in this crime. In the spirit of

efficiency, I have provide this attorney with a copy of this notice of complaint to your office.

       Please let me know if there is anything further that I can provide or do to help move the claim
process forward.


Re}P5ctfully,
 ~              fl0          1C

Peter Thompson




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                                               GAU:ATIH COUilTY CLERK
PETER THOMPSON                                   OF 'DISTRICT COURT
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2988 Blackbird Drive
Bozeman, Montana, 59718                                                2016 APR 25 PH 3: 53
406-570-0268
thompson008CJ@rnsn,com                                                           FILED
Pro Se with Limited S rope Repre.rmlalion
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IN THE EIGHTEENTH JUDICIAL DISTRICT COUBT, GALLATIN COUNTY


                                                                    CaUBe No. DV-15-636C
CATIAILCREEK COMMUNITY
.ASSOCIATION, a Mont:1na nonprofit
corporation                                                  ALLEGATIONS OF FACT AND
                        Plaintiff;                                  ....,.,AFFID--AVIT
             -vs-                                                OF PE"IER mOMPSON

PE1ER TI-IOMPSON,
                                Defendant.



                    Cattail Creek Community Association, here after as HOA.

     I. The water course within the combined areas of Phase I thm ill of the Cattail Creek area

contains 4.6 acres of registered wetlands.

     2. Pre application plat of Cattail Creek Phase Il describes the area as R3 zoning. See Exhibit

F.

     3. The City of Bozeman amended their zoning map for the Cattail Creek Phase TI area,

wherein Peter Thompson owns property which is a subject of this dispute, April 14th of 2003.

City's zone map amendment calls out the area of the Thompson residence on Blackbird Drive as

"R2". See Exhibit G.


     4. In 2008, the City ofBozeman's planning department policy, as stated by City planning de-

partment workers to public users of the plat room, was lhat all positive zoning verification is

done in the mning map amendment drawer.



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  5. In 2010 CityofBoz.cman employee, Bill Stetzner, slated positive zoning verification was

still done in the zoning map amendment drawer and that they were, "always" finding errors

needing correction in the GIS zoning map ofthe City's at this time.

  6. At some point in time between 2011 and March 26th of 2012, the City of Bozeman Plan-

ning Department changed their stated policy to public users of the plat room about how positive

7.oning verification was done. In this time bracket, the City Planning Department set up a GIS

zoning map station within the plan room. With a new policy of this time period that public user

positive zoning verification was now done at the GIS station in the plan room. This in the same

room where the zoning map amendment drawer is.

  7. At a time approximately between 2011 and March 26th of 2012, City Planner Dave Skel-

ton, directed City employee, Bill Stetzner to make hand drawn amendments to the Cattail Creek

Phase Il zoning map 11111endment document within the zoning map amendment drawer. Mr.

Stetzner made hand noted correctioJl5 to the zoning map amendment document, renaming the

funner "R2" area where the Thompson residence is as "Rl - Per Ord. 1593". Several other area

zoning call outs wece similarly changed. There was no mark up or change of the R3 zoning ref-

erence on this zoning map document The original document is attached as Exhibit G. The

hand altered document is attached as Exhibit H.

  8. Exlubit HI shows the altered Cattail Creek zoning map amendment with Ordinance 1593

attached.

  9. Exhibit HI with ordinance 1593 attached gives the reader the imp,esaion that Ordinance

1593 is the basis of authority upon which the hand noted alterations of the Cattail Creek :roning

map amendment arc based.

I 0. Ordinance 1593, dated April 14, 2003 provides amended zoning for the Cattail Creek Phase

II area. See Exhibit H2.


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   11. Ordinance 1593 (Exhibit H2) is not a document that provides authorization of hand note

amendments (described in paragraphs 7 thru 9 above) to the Cattail Creek Phase II zoning map

amendment plat, as implied by Exhibit HI.


   12. Ordinance 1593 (Exlubit H2) is not a document that communicates to the approving sign-

ers, that this document is capable of allowing Sandan LLC, to in fact plat and develop 42, one

quarter acre low density lots which restricted allowable uses to only that of single family use in

an area formerly zoned R3 Medium density.


  13. Attached ExhibitJ is a copy ofthe Phase I Plat of record. Exhibits F, G, H, and J were all

prepared by TD&H Engineering for Sandan LLC as part of a continuous phased development

plan, in close working timclines to each other.


  I4. Exhibits F and J similarly make clear statements relative to the zoning callouts pertinent

to the respective documents. Exlubit K is the 1D&H plat for Cattail Creek Phase II, as pre-

pared for Sandan LLC.


  15. The Phase II plat (Exhibit K) differs from Exlubits F and J which do make clear state-

ments relative to zoning call outs on the plats.


  16. The Phase II plat (Exhibit K) provides no information of what the zoning may be for any

of the lots depicted. Nor does the document have any information regarding what the allowable

uses of the individual lots are.


  17. The Phase II plat (Exhibit L) signatory cover sheet, provides no information of what the

zoning may be for any of the lots depicted. Nor does the document have any information re-

garding what the allowable uses of the individual lots are.


  18. Assistant City Attorney, Tim Cooper approved both Exhibits Kand Las to Conn of the

documents.



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  19. The owners of Lot 3 Block 9 and or their realtor conclude and or understood the lot that

they had purchased and owned to be, "R2 - Two Household Medium Density" zoned. In Janu-

ary of 2008, Lot 3 of Block 9 was advertised (Exlubit M) for sale as R2 - Two Household Me-

dium Density. The Thompson residence is on the same street and block a little farther to the

south.


  20. Exhibit N is an excerpt from tbe Cattail Creek Phase Il covenants (doc. No.2131569),

filed on the same day as Exhibit K (Cattail Creek Phase II plat - as discussed in paragraph 14

thru 18 above). Exhibit N describes !be Thompson property of lot 7 block 9 as follows:


                                                                            Front     Side        .Rear
                              Frontin~                                      Yard      Yard        Yard
   IDock      Let#               Street                     Zone           Setback   Setback     Setback   Notes
       9        I       Blackbird Drive                      R-2             20'       S'          20'      1,3
                2       Blackbird Drive                      R-2             20'       5'          20'      3
                3       Blw:kbircl Drive                     R-2             20'       5'          20'      3
                4       BJackbird Drive                      R-2             20'       S'          20'      3
                s       Blackbird Drive                      R-2             20'       S'          20'      3
                6       Blackbird Drive                      R-2             20'       S'          20'      3
                7       Blackbud Drive                       R-2             20'       S'         20'       3
                0       DI ....J..L..:...11'\...!. •..,      D"I             -.nr      ~·         .....      '2



  21. Page 40 of the Cattail Creek Phase II covenants (doc. No. 2131569) provides the follow-

ing general note:

   Genenl Notes;

   -     All zoning designations ~ setbacks are listed for general reference. Current city of
         Bozeman Codes and On:lmaures, at the time ofdevelopment, take prececlent



  22. Rob Pertzbom of lntrinsikArcbtecture, while acting as the HOA's agent conducting

design review, explained the general note (paragraph 21) above to Peter Thompson, as being

applicable to Exhibit N above and 1he body of1he Cattail Creek Phase II covenent contract

(doc. No. 2131569).



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  23. The general note of paragraph N above is applicable to the entirety of Cattail Creek Phase

II Covenant contract no. 2131569.


  24. Jntrinsik Architecture, while representing the HOA, provided Peter Thompson, on J1muary

 l 4th,2008, a spreadsheet of setback and zoning designations by lot which was explained as an

update and a document that supersceds the lot table in the back of the original Phase II

covenants (Paragraph 20 above). The spread sheet provided a range of changes in zoning

decriptions.

  25. Rob Pertzbom oflntrinsik Archtccture, while acting as the HOA's agent (in or about

January of2008), explained to Peter Thompson that JntrinsikArchtecture was prepareing new

covenants that would change zoning call outs of Exhibit N (paragraph 20) above. At this time

Rob Pertzbom stated that the draft covcnanb bis fum was preparing bad not yet been voted on

or approved by the HOA.

  26. On January 15, 2008, Allison Gilley oflntrinsikArchitecture requested a meeting with

Rob Pertzbom and Susan Kozub (both of Intrinsik Architecture), to disuss incorrect information

out there regarding the Cattail Creek covenants.

  27. On infonnation and belief, Peter Thompson, alleges that Susan Kozub did formally work

for the City of Bozeman Planning department and that Susan Kozub did participate in the City

ofBozeman's admim.trdtion of the City's review and approval of Cattail Creek subdivision. In

2008 Susan Kozub was receiving employment from Intrinsik Archtecture.

  28. In a January 15, 2008 email to Allison Gilley of Intri11S1lr Archtecture, Peter Thompson

made the following statement, "My feeling is that there are current owners of!ots on block 9

that feel their lots are R-2. I think this is an issue that needs further attention from the home

owners association and also from the cityplanning department•. On this same day, Peter

Thompson made the following statement in a email to Rob Pertzbom oflntrinsik

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Architecture,• ... a person should be able to go down to the cleik and recorders office and learn

what kind of land a particular lot is. I also feel that some how it is the responsibilty of the

planning department and who ever first establishes the covenants to be certain the documents of

record are reasonably correct.. .Rest assured, I am on Dave Skeltun's schedule for tommorow

and will be certain to let him know how I reel."

  29. About mid year of 2010, Dave Skelton stated to Peter Thompson that he had written them

about them needing to correct mistakes or errors in the docmnents at the Court house. At this

time the topic with Dave Skelton was the Cattail Creek Phase II docmnents describing most of

the lots as R2 zoning. In this discmsion with Dave Skelton, Peter Thompson and Mr. Skelton

did also dissucss a document the City had recently.provided lo Peter Thompson which stated

the City had used eminent domain to change the zoning descriptions of the Cattail Creek area

from R2 lo RI. At this time Dave Skelton did offer to provide a copy of the letter that he wrote

them, regarding corrections needed at the Court House, Mr. Skelton offerd this for a fee, Peter

Thompson declined.

  30. On infonnation and belief, Peter Thompson alleges that Rob Pertzborn and Allison Gilley

of Intrinsik Arehtecture did receive legal advise from Wittich Law Firm, regarding the incorrect

information about Cattail Creek Covenants described in paragraph ·26 above.

  31. Peter Thompson did purchase Lot 7 of Block 9, within Cattail Creek Phase II, from

Richard Embry. Cade Embry had previously MLS listed this Jot fur sale with zoning described

as "Other, Res", see Exhibit 0. Richard Embry was included in the email communications

descnoed in paragraph 28 above.

 32. On information and belief. Peter Thompson alleges that Richard Embry did receive legal

advice from Wittich Law Finn, regarding the incorrect information about Cattail Creek

Covenants described in paragraph 26 above.


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  33. On information and belief, Peter Thompson alleges that Mr. Arthur Wittich bas a -long

running friendship with Mr. Brad Stratton (owner ofAmerican Land T"rtle Company) and that

Mr. Wittich and Mr. Stratton do have contact tbru their respective work on a professional level.

  34. Peter Thompson, about a month prior (per paragraphs 22 thru 28 above) to closing on

property within Cattail Creek Phase II on February 27, 2008, provided notice to Richard

Embiy(seller of the lot), persons in control of (HOA's agent) and or having access to documents

of record at both the Court house and the zoning map ammendement plat files (City planning

department workers), that Peter Thompson intended to rely on these documents of record in a

upcoming realestate transaction. Peter Thompson, did near to closing on February 27, 2008

visit both the County Court house and the zoning map ammendment files in the City plan room.

No changes, notes or any ammendments were evident at either location just prior to closing.

Peter Thompson then attended closing on the 27th of February, 2008 with the understanding

that a faction oftbe local HOA was well along the path of trying to get property owners to vote

on approval of significant changes to their covenant contract, but voting nor the voting meeting

to approve changes had yet occurred.

  35. On information and belief: Peter Thompson alleges that, John Doe(s) and or Jane Doe(s)

of the HOA and or their agents and or Richard Embry and or his agent, communicted with John

Doe(s) and or Jane Doe(s) ofAmerican Land Tide Company regarding the incorrect

information descn'bed in paragraph 26 above and that as a result the Covenant Contract of

record at the time of closeing (Cattail Creek Phase Il - doc. No. 2131569) was withheld from

the closing transaction, conducted by and at American Land Title Company on February 27th,

2008. This realestate closing transaction between the Seller (Richard Embry) and the purchaser

(Peter Thompson).

 36. Peter Thompson did not receive or sign any covenants during the land transaction


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descibed in paragraph 35 above.


  37. On information and belief, Peter Thompson alleges thatAmerican Land Title Company

had a pmpose and or need to later represent that covenants of record had been presented to the

purchaser, Peter Thompson, at the closing described in paragraph 34 and 35 above.

  38. Documents manufactured by American Land Ti1le Company (as obtained by Peter

Thompson about 2013) represent by way ofnotorized attachement of document no. 2300076,

that the revised and restated covenant contract (of May 15, 2008) was a part of arid or

presented at the land closing of February 27, 2008(Paragraph 34 and 35). When in fact

Document no. 2300076 (this document forms the entity of the Plaintiff now before the Court)

did not exist until May 15th, 2008, a point in time well after Peter Thompson's closing

transaction (per paragraph 35) on property within the HOA. ALTC documents presented

at closing had deleted \ missing pages that accurately depicted the type of stmcture to be

built and were also did not include the appraisal report stating that zoning was by restric-

tive covenant.

  39. The closing document package described in paragraph 38 above, which included

notarized attachment of the revised and restated covenants Doc11U1ent no. 2300076 (this

document forms the entity of the Plaintiff now before the Court, created on May l 5th, 2008)

bares a date out, stamped date of March 18th, 2008, a point in time before the existence of doc-

ument of record no. 2300076.

  40. It is most common that covenants of record be presented at closing by the seller and

signed by the purchaser at closing of a real-estate transaction and although this may not be a le-

gal requirement under the Montana Code, it would be a requirement of standard business prac-

tice for most all companies who are routinely involved in such transactions.

 41. On information and belief, Peter Thompson alleges that John Doe(s) and or Jane Doe(s)

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of American Land Title Company transmitted the document package described in paragraphs 38

and 39 above to the Lender oftbe purchaser and or to the Title insurance company who issued

lhe actual title insurance policy and or others.

  42. On information and belief. Peter Thompson alleges that John Doe{s) and or Jane Doe(s)

of American Land Title Compan, bausmitted !he document package descnlicd in paragraphs 38

and 39 above with no less than one ulterior motive; to fulfill a requirement of entities (para-

graph 41 ), that such closing packages as received from a closing conducted by a T"rtle insurance

company, are expected to include documentation that covenants of record were presented and

accepted at closing and or that proposed to be built structure, included in the title insured clos-

ing amount, be complaint with applicable restrictive covenants.

  43. On information and belief: Peter Thompson alleges that John Doe(s) and or Jane Doe{s)

of American Land Title Company trammitted the document package descnlied in paragraphs 38

and 39 via the US Postal Service and or that other documents were differently manufactured

that did not include any indication that the revised and amended covenants were a part of the

February 27, 2008 closing and that this different set of documents were mailed via the US

Postal service to Peter Thompson.

  44. On information and belief: Peter Thompson alleges that American Land Title Company

has at least a dozen or so title insured interests within Cattail Creek Phase II that could be af-

fected by incorrect information as described in paragraph 26 above. This if it is determined that

any encumbrance of title (the original or the revised covenant contracts) is tainted by mistake

and or fraud.

  45. Between 2004 and 2008, Sandau LLC attracted a range of people who purchased within

Cattail Creek Phase II. These people understanding they were purchasing quarter acre low den-

sity single family lots and or built out strucrures on the lots.


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  46. In this same time period (paragraph 45 above) there is another range of people that were

attracted to pmchase within Cattail Creek Phase II, who believed they were purchasing to bold

and or build on and or resell lols which the pun;hasers and or sellers believed were R2- Two

Household medium density lots. See Exhibit M.

  47. On October 22, 2001, the City of Bozeman adopted the 2020 Community Plan. See Ex-

hibit P.

  48. Development activities within Cattail Creek Phase Il are required to comport with the

City's adopted 2020 Community Plan of paragraph 47 above.

  49. On information and belief, Peter Thompson alleges that the 2020 Community plan pro-

hibits the development of one quarter acre low density lots which are restricted to single family

only use in areas not zoned Residential Suburban.

  50. In Explanation of paragraph 49 above, approval of 40 or more quarter acre low density

single family only lots in any area previously or currently zoned as R3 medium density and or

R2 medium density under the 2020 plan, would require variance and or amendment of the 2020

community plan.

  51. Commission Resolution No. 3630 (Exhibit Q), adopted and passed on September 22,

2003 established various strategies of affordable housing.

  52. Excerpts from.Commission Resolution No. 3630 as follows:




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 StrategyU.       Regulatory and Process Reforms
          1.      Major site plans with no deviations can be a~proved by City planning staff.

Strategy Ill.    Restricted Size Lota (RSL) & RestriGted She Unita (RSU)
        1.       As state<! in tne 2020 Plan, every residential annexation into the City of
                 Bozeman of five acres or more, that is not zoned as Residential Suburban
                 shaN have a minimum net acreage density of 6-8 units when subdivided.
         2.      Every residential annexation of five acres or more that Is not zoned as
                 Residential Suburban shall have a minimum of 10% of the buildable net
                 acreage dedicated to Restricted Size Lots (RSL) that are 4,eee to not greater
                 than 5.000 square feet for
                 2;508 to 3.000 for single
                                               t!~te   family household detached (SFD SHD) and
                                                   · household attached (ASF SHA) units when
                 subdivided. The RSL shall be designated designation shall be recorded with
                 ~ the _fi".'~ subdivisio!1_Plat. .. . __       _ _. . .


  53. On information and belief, Peter Thompson alleges that Subdivisions platted and ap-

proved after the adoption of Commission Resolution No. 3630 on September 22nd 2003 were

required to comport with the requirements of the Resolution.


  54. On information and belief, Peter Thompson alleges that Cattail Creek Phase II plat ap-

proval was subject to the requirements of Resolution No. 3630 and that the approved plat, Ex-

hibits Kand L (the Cattail Creek Phase II plat ofNovember I Ith 2003) does not comport with

the specific requirements of Resolution 3630 seen in paragraph 52 above.

  55. Public Notice and subsequent Zoning Commission and Planning Board review of Ordi-

nance 1604 was completed on August 12th 2003. The City commission held three separate

public comment meetings in September of 2003 to take public comment of proposed Ordinance

1604. On first reading the City Commission passed ordinance 1604 on November I 0th of 2003

with a targeted effective date of January 1st 2004.

  56. Ordinance 1604 changed the previously confusing zoning definitions, such as R2 Medium

density allowing for small sized single fiunily lots to R2 post Ordinance 1604 meaning Two

Household Medium density zoning.


 57. The Cattail Creek Phase II zoning map amendment plat (Exhibit 0), upon which positive



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zoning verification by public users of the City Plan room depended on between 2004 and some

time prior to the City's implementation of the GIS station method about 2011/2012 called out

zoning consistent with tenns of ordinance 1604 meaning R2 - Two Household use as follows:




:'.)
)                                R- 2 BOUNDARY
::,
..,
7                             CONTAINS ? 1.59 .4CRES "-...
                                                                                                    ~
                                                                                                     '--._
                                                                                                         '
       58. R2 Two Household use is consistent with the pre approval plat zoning (Exhibit F) ofR3

for the same aiea as follows:




       59. R2 Two Household medium density dwelling in this area is also consistent with the 2020

 community growth plan.

       60. Mid summer of 2008, Peter Thompson went to the US Post Office on Baxter Lane and



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spoke with Jane Doe. Requesting Mni. Doe issue a second street addresses for Lot 7 of Block 9

within Cattail Creek Phase Il. Mrs. Doe advised she could not issue the street adress based on

the covenant doc. 2131569 as requested, addresses would need to be issued by the City.

       Peter Thompson went to the City Planning Department and asked Tara Hastie about

getting street adresses. Mrs. Hastie located the Tiiompson property on the wall map across

from her counter and explained the property was in the donut district and street addresses would

need to be issued by the County.

       Peter Thompson went to the County 01S office and met with Allan Armstrong.

Inturupting Mr. Armstroogs brown bag lunch, Peter Thompson explained his visit to the Post

office and the City planning departments refemi.1 to his office. After understanding where the

property in question was, Mr. Armstrong explained that the address should be issued by the

City, but as it sounded like you have been getting the run around he could help out and issue the

2nd address. Mr. Armstrong requested and received a copy of the site plan showing when:: both

doors would be, reviewed a copy of the covenant doc. No. 2131 S69's table descn'bing the lot as

R2 and then stated that he would contact the City (Bill Stelzner) to confirm that the City zoning

allowed for a 2nd street address and to come back in a hour or two.

       Later this day, Mr. Armstrong issued the second sm:ct address of 2990 Blackbird Drive

and wrote the number down on a scrap of paper.

       Later this day, Mrs. Doe of the US Post office stated a nmnber on a scrap of paper was

not going to fly with her, she had Allan's number and called him, getting confirmation that he

had issued the 2nd street address. Mn.. Doe than went on about how expensive the group mail

box pedestals were and that I might have to pay for more if there was not enough room in the

area boxes to allow for a second street address as requested, Mrs Doe would send her keying

person out there to check things out.


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      Later it was asscertained by the keying person that there was plenty of room and boxes

 were set up with keys is$\lcd to Peter Thompson for 2990 Blackbinl Drive and 2988 Blackbird

 Drive.

                                                                                          ----------~
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                  .      ,..,,.... ---·.-··1                           ' .
                      . --~_. 2990 [",· ·. -·

61. In or about December of 2009, Peter Thompson met with City of Bozeman plan's examiner

Tim McGougb. One of the topics discussed at this time was how Peter Thompson could

complete the lower area of 2988 Blackbird Drive, so as the lower area scope of work, when

completed, would be in compliance with City'~ minimum standards for issuance of a Certificate

of Occupation. Occupants and sleeping areas were discussed amongst other details pertinent to

the City's minimum requirements for occupancy. Peter Thompson and Plans examiner Tim

McGough, near the close of this preliminary meeting did request supervisory input from the

Chief Building official Bob Risk. After a Slllilmary briefing of details discussed between Plans

Examiner Tim McGough and Peter Thompson, Bob Risk was asked for any comments\ input

regarding any issues he might have in permitting the proposed scope of work. Mr. Risk declined

lo make any specific cmnmenl and then did direct, Peter Thompson to submit the final plan in

writing in the foim of a Building Permit application.

62. The City of Bozeman issued Building Permit no 10-10130 to Peter Thompson on February

9, 2010. Building Pennit no 10-10130 was for the scope ofwork discussed with City plans

examiner and Chief Building official Bob Risk, per paragraph 6 l above.




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63. Construction authorized under Building Permit no .J0-10130 was based on.plans for the

lower areas of the substantially complete building shell at 2988 Blackbird drive. At this time,

most all e,derior finishes of the upper building area were complete, less a few exterior decks; this

upper area work being conducted under building pennit number 08-743S. The City had

demanded Peter Thompson acquire a separate building permit for the lower area occupancy

work. Subsequently, Peter Thompson did apply for and did receive building permit no. I 0-

10130, per paragraphs 61 and 62 above.

64. During the course of applying fur and receiving building permit no. I 0-10130, Peter

Thompson was informed by the City Platming department that lhey now regarded his property as

RI and only one cooking fucility would be allowed Peter Thompson wrote a letter stating that

as a condition of achieving occupancy under building permit no 08-743S, the cook stove from

the area of work permitted under building permit no 10-10130 would be removed as a

prerequisite condition of later gaining a certificate of occupancy under building permit no 08-

743S.

65. About this same time (paragraph 64 above), Peter Thompson did revisit the City's plan room,

to again look at the Cattail Creek Phase II zoning map amendment documenL This plan room

visit is partially descn'bcd in paragraph S above. City employee, Bill Stetzner did assist Peter

Thompson in the Plan room on this day. Mt. Stetzner helped locate the Cattail Creek Phase Il

zoning map amendment docmnent and did make a blue print copy of the document for Peter

Thompson to purchase. While the copy was being made, Peter Thompson explained to Mr.

Stetzner about having to write a Jetter about the one cook stove in the building in applying for the

Building permit and that he had recently been advised the planning department thought his

property RI based on their GIS map. Mr. Steimer explained that they were always finding errors

in the GIS map and that positive zoning verification was still done in the zoning map amendment

drawer. Mr. Stet:mer quizzically stated that he was having lunch tomorrow with the person in


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charge of the GIS map and that he would get it corrected. This as we could see that the area in

question was R2 per the wm:nt zoning map amendment doclllllent that Mr. Stelzner had just

made a copy of.

66. Leaving the plan room conversation with Mr. Stetzner (paragraph 65) Peter Thompson

explained to Tara Hastie, at the planning department counter, what Mr. Stel2ner had just said and

showed her the copy of the zoning map amendment document. Mrs. Hastie then called Dave

Skelton, who was out of office with a medical issue. Ml". Skelton told Mrs. Hastie about some

files somewhere. Mrs. Hastie then produced a paper from the doClllllent folder Mr. Skelton had

directed her to. A part of the docoment explained the R2 lot description of the zoning map

amendment document had been changed from R2 to RI via the use of eminent domain in a City

meeting. Mrs. Hastie explaining that Mr. Skelton said the zoning map amendment document

was incorrect There was a similar document that spoke about changes from R3 lots to R2 lots.

Peter Thompson bought copies of both letter sized documents of change in zoning descriptions

and the blue print copy of the original zoning map amendment document

67. Shortly after the time described in paragraphs 65 and 66 above, Peter Thompson made walk

in contact with Brad Stratton ofAmerican Land Title Company. After hearing an outline if the

issues encountered in paragraphs above, Mr. Stratton explained the issued title insurance did not

cover zoning issues and he did not think any submitted claim would be successful. Mr. Stratton

presented a copy of what was not covered by the title insurance policy and explained his

reasoning. Peter Thompson asked for a copy of what was covered by the insurance policy and

left.

68. Certificate of Occupancy no 10-10130 was issued to Peter Thompson on September 24th,

2010. This Certificate of Occupancy was issued for work and areas of construction now

completed under Building Permit no 10-1 DI 30.




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69. Peter Thompson began legal occupation under Certificate of Occupancy no 10-10130, the

same week in September of 2010 that the first C of O was issued, at 2988 Blackbird Drive in

Bozeman, MT (per paragraph 68 above).

70. Certificate of Occupancy no. l0-10130 as follows:




                  Certificate of Occupancy
                               Department of Building Inspection
             This a:nif'IC8.te issued purauant to the requirements of the International Residential Code
 !
 '
              certifying that at the time of issuant:I! this structllre was in compliance with the ,'llrious
                             ordinanres of the city ngularin,:: building ron:struction or use.
 i                l11SU11Dce of a Certifi=c of OttupllllCy shall nod><: a>Mnued .. an appn,Yal of a
                     ,iolation of 1be ~=isions of this <Ode or other ordiaances of the jurisdiction.
              Certificates l)t'CaUmiur to gi'\"e nuthority to violate er cancel the provisions of thi!!. code of
                                  other onlinm,e<s ohhc jnrisdiction shall ml b<> wlicl.


                                                                                          112 IJ 0
                                                                        Permit Number: /o -
                                                                                               '
                                        Owner of Building:            {i,'tbR. "'ni+:<--'9°5 a "J
                                         Building Address: 42',,/"'J:~, M                                    ,~R, ,
                                         Building Official:        Gd'                             Date: 9--2.'f,:tO
                                                                ·~~··
Upon issuance of Certificate of Occupancy no I 0-10130, the work authorized under building

permit no 10-10130 was now complete and the completed work met the City's minimum

requirements for occupancy, as it was originally planned to per paragraph 61 above.

71. Certificate of Occupancy no l0-10130 (paragraph 70 above) is a conclusive document

binding upon all city agencies and empowered under Montana State Law as follows:

MCA: 50-{;0-107. Cer1ifieate of occupancy. (I) A certificate of occupancy for a building
constructed in accordance with the provisions of the state building code or county, city, or town
building code must certify that the building ccmforms to the requirements of the building
regulations applicable to it
   (2) Every certificate of occupancy, unless and until set aside or vacated by a court of
competent jurisdiction, is binding and conclusive upon all county, city, or town agencies as to all
matters set forth, and an order, directive, or requirement at variance with the certificate of
occupancy may not be made or issued by any other state agency or county, city, or town agency.

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72. Certificate of Occupancy no I 0-10130 (paragraph 70 above) is a constitutionally protected

document.

73. The US Supreme Court explains:

The ''hallmark" of a protected property interest is "an individual entitlement grounded in state
law, which cannot be removed except 'for cause.' • Logan v. Zimmerman Brush Co., 455 U.S.
422,430 (1982)

74. After completing the coostruction necessary to obtain Certificate of Occupancy no. I 0-

10130, moving in and getting past Christmas. Peter Thompson made contact with Attorney

Doug Marshal regarding perceived issues outline in the paragraphs above. Mr. Marshal was

initially enthusiastic and stated that we might not get much money out of them, but could

probably gel a city lot or two from the developer. At this early time, Mr. Marshall felt we should

sue my real-estate agent, the seller, the developer, the HOA, the title insurance company and the

City. Mr. Marshal said to bring your documents in.

          In a later meeting, Peter Thompson brought Mr. Marshal a file box full of papers and

paged tbru the box with Mr. Marshal. Peter Thompson explained to Mr. Marshal that be was not

comfortable suing everyone, my wife and I had known ourrealtor for years as a fiiend. I saw the

seller Richard Embry as much a victim of the circumstances as I was and believed the principle

issue was with the makings of the City and the Developer (Sandan LLC - owned by Sandra

Hamilton and Dan Madison), Mr. Marshal said to keep an open mind and we would talk more

later.

75. Peter Thompson was, in or about April \May of 2011, confronted with HOA efforts to

enforce covenants that were not of record when he purchased within the HOA which Peter

Thompson had no knowledge of, as well as HOA taking issue with the duration of construction.

Peter Thompson did then requested written response fiom the HOA on Ibis matter thru their

agent Above and Beyond Management. At this same time, Peter Thompson gave notice to the

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     HOA's agent (Above and Beyond Management) regarding theHOA's design committee review

     representative, Rob Pertzbom, allowing that construction taking longer than one year would be

     not be a problem, provided the Defendant had a valid building permit. The issue of trailers being

     allowed onsite during permitted construction work was also presented to the HOA's agent at this

     time. The HOA's agent (Above and Beyond Management) wrote a letter to the HOA regarding

     the issues and requests made of the HOA by Peter Thompson at this time.

     76. The HOA failed to respond to this request for written response in 2011 and for a period of

     time into the following year of 2012, the HOA stopped directly raising issues with Peter

     Thompson.

    77. Subsequent to Peter Thompsons meeting and requests of the HOA's agent, per paragraph 75

     above, the HOA did then name Peter Thompson as a person likely to have committed acts of

    vandalism in the local park. Officer Rick Musson did then aggTessively interrogate Peter

    Thompson and his wife in their driveway at 2988 Blackbird Drive. Peter Thompson did make

    written request of the PD for all information, documents and records relative to the accusation of

    the HOA in this matter. City Attorney Gregg Sullivan did apply for order of the Court relative to

    this docwnent request. The Honorable Holly Brown granted the order requested by Mr. Sullivan.

    Production per the Courts order did not include any call for service docwnentation. Production

    under the Court's order did include a recording of Officer Musson's interrogation.

    78. About the time of the request of Peter Thompson, per paragraph 75 and the accusation of the

    HOA (per paragraph 77 above), lhe City of Bozeman Building department, in re3ponse to a

    series of calls from the HOA regarding the Thompson family's residency at 2988 Blackbird Drive

    and the duration of construction under building permit no 08-7435, provided notice to Peter

    Thompson that building permit no 08-7435 had expired and that the City was revoking

    Certificate ofOccopancy no. 10-10130. In this letter, the City allowed that, for a fee, building

    permit no 08-7435 could be renewed and subsequent to renewal of the building permit,. the City

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would allow 30 days to complete the permitted work. remove the basement dwelling allowed

under Certificate of Occupancy no 10-10130 and obtain a Certificate of Occupancy for the area

of work to be completed under building permit no 08-7435. See Copy of this notice letter as

Exhibit R..

79. Peter Thompson called Code Enforcement officer Frojae in response to her letter described

above in paragraph 78 (Exhibit R). During this phone call, Peter Thompson compelled officer

Frojae to 'locate the inspection card records and she confirmed that she was incorrect in her

determination that building permit no. 08-7435 was expired due to "inactivity". Peter Thompson

advised Officer Frojae that substantive worlc on the structure during the last 6 months had

occurred, this as required by the City's adopted code and that the project had also received an

inspection validating construction activities within the last 6 months pursuant to the unique card

inspection validation of progress requirement of the City. Officer Frojae apologized for her

mistake and stated the Peter Thompson had until June 12th to have an approved inspection.

80. Peter Thompson called for and received an approved inspection under building permit no.

08-7435 on June 7th, 2011, as follows:
        ··--- .... ---··••:,
                   und
                      · I Monoslab


Punruant to the City's 1D1ique policy of only validating ongoing construction activities thru

approved inspection card sign ofls, Building Pennit no. 08-7435 was now proved up for another

5 months into 2012 as an ongoing and active Building Permit.

8 I. Peter Thompson, in early June of 2011 contacted new Planning Department head to discuss

the zoning issues and the letter obtained from Tara Hastie which explained changes in zoning

descriptions had been made via use of eminent domain. This meeting was set up to occur in

conjunction with meeting with ChicfBuilding official Bob Risk and Code Enforcement officer


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Paula Frojae on June 8th, 2011. With some encouragement, Doug Marshal did attend the early

portion of the meeting on Jlllle 8th where in Chris Saunders presented documents and explained

the City's position relative to zoning confusions regarding R2 vs RI issue of Cattail Creek Phase

II. All it had already been established with Code Enforcement officer Frojae that Building Permit

no 08-7435 was alive and well and Mr. Marshal was very busy, Mr. Marshal and City Planner

Chris Saunders did not attend the second half of the meeting on June 8th, 2011. The second half

of the meeting is described as follows:

82 .. On June 8th, of201 l, in a meeting at the City Building department office, City of

Bozeman's ChiefBnilding official, Bob Iusk did coerce Peter Thompson into signing an

agreement written by Mr. Risk. Mr. Risk's agreement established a specific completion date for

work currently authorized under Building Pennit no 08-7435. Mr. Risk committed this act of

coercion by momentarily pretending to revoke Peter Thompson's established Certificate of

Occupancy no 10-10130 and also added further weight to this act of coercion by arbitrarily

revoking Peter Thompson's active and valid building permit by falsely stating that building

pennit no 08-7435 was expired for lack of activity under the pennit. Mr. Risk's agreement

attached as Exhibit S.

83. At the meeting described in paragraph 82 above, Former Code Enforcement Officer Paula

Frojae, did verbally support the fact that Building Permit no 08-7435 was in fact in good

standing, this, moments before and in the same meeting wherein, Bob Risk did then while acting

under the color oflaw, without due process, summarily, arbitrarily and illegally declare building

permit no 08-7435 expired as a part oftbe aet of coercion descnl,ed in paragraph 82 above.

84. About the time of the June 8th 2011 meeting (paragraphs 82 and 83 above), the substantial

investment of Peter Thompson and the related construction work in place, prior to and leading up

to the period of time around the June 8th 20IO meeting, had established a property right, lawfully




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owed and possessing of constitutional protections llllder building permit no 08-7435 for the

upper area residence at 2988 Blackbird Drive.

84. In a meeting with Doug Marshal subsequent to the June 8th 2011 meeting described above,

Mr. Marshal's perspective had changed. Mr. Marshal with little explanation, now stated we

would lose the house. Mr. Marshal was referring me to Art Wittich as Mr. Wittich had more

experience in this sort of matter and Mr. Wittich had previously referred clients to Mr. Marshal.

Mr. Wittich folllld time to accept calls on the matter, even while in line at the aitport on his cell

phone at 406 570 5598. ·Mr. Wittich personally made arrangements for Peter Thompson to meet

with his assistant, Amanda Menasco to go over the situation and file box of documents picked up

from Mr. Marshal.

85. Peter Thompson met with Wrttich Law Finn's, Mrs. Menasco on the 18th of July, 2011 and

went over title insurance documents, contacts with the HOA, HOA design review comments

from Intrinsik Architecture, the seller etc. Mrs. Menasco would review the CCR's, zoning issues

and present summary report for purpose of initiating title insurance claim.

86. Peter Thompson and his wife met with Mr. Wittich on July 19th, 201 I. Mr. Wittich handed

out Mrs. Menasco's summary report of om situation which included names of parties involved

etc.. My wife and I agreed Mrs. Menasco had made a good accounting of the folks involved and

our perceived issues. Mr. Wittich then collected from my wife and I the copies of Mrs.

Menasco's summary report in this same meeting. It seemed like he would recycle the paper or

something. Mr. Wittich became uncomfortable because there were window washers outside the

conference room and we went to a smaller meeting place. In the second meeting room, Mr.

Wittich made a list of things he was to do for us. At the top of the list was initiate our title

insurance claim. The following topics were in the body of the list, assess the sellers liability, the

developers and the City's in this matter, and verify that the covenant amendments were lawful.

We were suspicious of the covenant changes as we were owners when the changes were made

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and did not understand how the covenants could be changed without us knowing about it It was

understood in the meeting that Mr. Wittich would write us a letter regarding his recommends on

how to proceed in a few weeks. Mr. Wittich commented that we seemed like some really

stressed out people and my wife broke down crying, Mr. Wittich provided tissues and then made

us a copy of the revised and amended covmants. Mr. Wittich recommended we read them and try

to do what they snid while he looked into things on our behalf.

87. After a series of prompting letters and months of waiting, Mr. Wittich wrote us a letter with

his input on March 6th of 2012. Mr. Wittich's letter was very unsatisfactory and did not address

the vast majority of the issues we were expecting his input and help on. In parting ways Peter

Thompson made in person and email requests for a copy of Mr. Wittich's to do list from our first

meeting and for a copy of Mrs. Menasoo's summary of our situation, Wittich Law Firm kept the

requested documents from Peter Thompson.

88. After parting ways with Wittich Law Firm, Peter Thompson started in on working to prepare

a title insurance claim without Wittich Law Firm's support. This involved requesting documents

from the HOA and the City, neither of which has ever provided copies of the requested

documents. The title insurance claim investigator did contact the City ofBozeman as part of

their investigation. Title insurance claims effurls were protracted and hampered due to failure of

the City and the HOA to provide requested documents. Active efforts of claim spanned from

March of2012 thruAngust of 2013. Efforts in this direction have become stalled due to more

pressing issues in maintaining possession of our property at 2988 Blackbird Drive and

reacquiring our lawful right lo occupy our home and lawfully resume construction to complete

the structure.

89. About this same time as our parting ways with Wittich Law Finn, in March or so of 2012, the

HOA resumed putting door hanger complaint notices regarding our the presence of our smallish

16 foot stock trailer and duration of construction.


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90. The period of time .that elapsed between 2011 and 2012, per paragraph 76 above, Wl!S

enough time so that when the HOA did resume door banger notices (based on covenants not of

record at time of Peter Thompson's closing-paragraph 35) and Peter Thompson did then ask the

HOA for records that would shed light how changes to the covenants came about, the HOA could

then and did at this later time in 2012 cite, MCA stating that members were only entitled to 3

years back records.

91. Subsequently, per paragraph 90 above, Peter Thompson was prevented by the HOA from

getting access to infu1T11ation from the HOA, regarding changes to the covenants of record that

Peter Thompson originally purchased his lot within the HOA under.

92. In response to the HOA resuming door hanger complaints regurdi.ng conslruction duration

and the presence of a small stock trailer in our driveway, Peter Thompson wrote the HOA 's

president of the time with a list of issues that needed to be resolved between the HOA and Peter

Thompson. See Exhibit T.

93. The HOA responded with by and thru Mr. Jennings in a March 30th, 2012 letter as follows:

The co.venants for lhe•s~bdirision W1d the accompanying de~igp.regulation$ req_i~re construction to
be cori1pleted within one year of commcricement. Al this point. you have gone 1vell beyond one year
and the association is concerned. I understand that you have received p~m1i.ssion from the.
appropriate offici11ls ofthe City ofBozeman to reside in l11e \,nse)ment of the house. but that does not
pi:ec\\1de the association from taking sfeps to protect its interest. The most o),vious step for the
association would be to s~k an injunction against you to prevent you from lh·ing. in the house until
it is·completed. If the association takes that step I believe tllat i.1 \\ill be entitled to recover its
attoniey fees and court: costs from you. which could lllllke the:ca.se ri11her- esperisive for you.

Rather than· take coun action. the board is willing to allow you to continue residing. in the house
pro,;ided that you take steps 10 mitigate the impact on the neighborhood. The, first step will be to
remove the storasc COl!taincr located alo_ng the south side ofyour house:. That container is unsighdy
nnd :n01 .consistent• with the intent of the. co"enants ror the subdivision. Removal of the storage
conl!liner shall be a condition of allowing you to continue residing in the house.

Yo,u.alsc, upparently keep a horse trailer on the premises. The covenants preclude storage of such
iieiris on the property and th<! :issocia1im; could hav~ i1 towed, in which ca.o;e you would bl! liohlc for
the tow charges and storage costs. Your.voluntary removol ot'thc u·.iilcr will be the s.:cond condition
of allowing you to continue your residency.



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~ exterior of 1he house is iilcomplet,fand lhe driveway. sidewalk and lapdscuping l1nvc not been
installed.Those items willneed to be completed, although it is 11~dcrstood that it mny not be possible
IQ cQmplete thenruntiJiµQrefa\·orable weaiher eonditio.ns e.x.ist.The association.is\\illingto diS<;USS
a lilneiilble for their CO!,llpletion as l1 condition of\,:ahing·the pc:cupancy restriction, provided that
you agree to the other conditions in this letter in a timely manner.

Finally,you have disturbed the landsL-aping in the park area adjaL-ent to your propeny. ,;,•hich is your
re~nsibiliry 10 correct. You dh,i not have the right 10 store_yo11r din on the ;tdjacem g,round and,.1he .
cosioffixing 1bi: problem mus1 be bome·oyyou. Agah~. the';i.-socjation is ,,illllig to allow ihe work
to be completed !his gro~ving seaso~. prmided that you provide a concrete plll/l for mitigating the
daipage. including a timetable. and you ipeet 1.he olhcr condiiions of this letter.

lfy9u will eom:ct theseprobkms asoutlini:d in this lettcr..th'eassociation will waiVetherequirenie!ll
to c()mplete the house before beginning occupancy. lfyou,will not~ree to these tem1s. thcn,J ,viii
recommend to the association that il initiate a court action to .have vou removed from the house as
qui~kly as possible. lf the coon issues such an order and you then \i~lati: the 1enris of ¢c or<ier, yo LI
cmitd be fotmd in,contempl of court, and fined.or jailed as a· result. Jf you couple that outcome Wilh
the possibility of the court awardinJl attorney fees and cow:t l.'Osts. it certainly appears that it would
be in your best interests 10 live up lo the 1em1s of your original agrc.-emcnt by completing the exterior
of !pc house. insmllinii; landscaping. sidewalks and the driveway. and gcnera,lly cleaning ,1p the
property.

Since 1.his has.gone mi for much I.anger than it ~hould. you ri1ust ·agree io thcs¢ 1en11s within 7 days,
o'rri:ccipt of this Jeuer..and it shall be deemed received three days after mailing. Please let me know
you~ response within that time.

Vcry truly yours,:,.,,...,....___,
          I           "·         .
 );tl/~J~~>~
Wayne krmings1/                V
94. Peter Thompson responded to the HOA's demand letter above with 21 pages of details and

references laying blll"C all perceived issued between the parties, various requests for documents

within the HOA's control were made and did also propose solutions. One of which being that the

HOA separate undisputed billings from disputed ones, so as the parties could remain current with

undisputed assessments.

95. The HOA's response is summarized as follows:




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  May'lP, 2012

 Mr. Peter'Thompson
 2988 Blackbird Drive
 13,07.cman, Montana 59718

  Re Cattail Creek HOA

  Dear Mr. Thompson:

 I met with the board of directors to di5Cuss your response to my March 30, 2012 lener. In short, the
 board finds your response Jo be unacceptable. Therefore, iii c.;ompliance \\~th the t:0\'emints for the·
 subdivision, my client is prepared to engage in mediation.asan attempt 10 resolve the situaiion before
 filinga·coun action. the board proposes•that we use tile servicesofDan Roth or Leanne Schraudncr,
 who· are both practicing lawyers in Bozeman and experienced medfotor:s. If you liavc another
 mediator in mind,_piease let mi: know the name of such person.-The panicular rnediaror is not as
 important to the board as the qualifications of the ~"f'Son proposed and their independence from the
 panics.

96. Peter Thompson did personally speak with the retired Honorable Judge Karla Gray, Judge

Gray responded to a voice mail left by Peter after looking up Judge Gray in the white pages.

Peter Thompson respects the logic of the wide range of Judge Gray's decisions that the he has

read. In the phone call with Judge Gray, she made clear she could not comment or provide any

elaboration on her past published decisions as she remained on call for adjudication ofissues as

may be needed. Peter Thompson imagined that Judge Gray may be available for employment as

mediator in the HOA's proposed mediation and put her forth as a proposed mediator to the HOA.

The HOA did not respond to Peter Thompson on the topic of proposed mediator or discovery

that Peter Thompson felt entitled to prior to actively engaging in mediation.

97. Peter Thompson reached the final point in 2012 with the HOA, where after, the HOA became

non responsive and had little or no further direct contact with Peter Thompson until filling of the

recent complaint now ·before the Court as follows:




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 Frtday, May 18,2012                                                                  Delivered ,By Hand

 Jennings Law Office, P,C,
 t 704 W. Babcodi. Suite A
 Bozeman, Montana 59715

 Dear Mr. Wayne E. Jennings Esquire

 Having received" no confirmation or your recelpl of my s-12-2012 letter: as·request In my email to yau of the same day; I
 am hand ~eHvering Attachments 1 lhru 6. These II"' copies of corresponderie& with you that I nQ~d to be certain you
 have received.

 -A few days ago, we had !I!!! storage container moved to the back yard, My vAfe then melted· down under the long
  term emotional distress of dealing with the HOA and begged me to haul the container somewhere else far fear of
  what the HOA might do next.                                                 .

 AbOve and Beyona Property Management made notes and or had correspondence willl the HOA Board of Directors
 regar(1ing the meeHng de.scribed In Attachment Bof my _March 23, 2012 lette, to Mr. Munter•. Above arid Beyond
 Property. managemenl"gave these documents 10· Minnick management. I am requesting copies of these papers and any
 other notes or.meeting _minutes where the meeting at Above and Beyond Management was dscussed by or presented
 to any mem~rs 0f the HOA. and or Its various Bo~s. This date range of !he corresp0ndence requested is Mey June or
 2d1i.                                                 . .

 Mr•.Jennings, 1am pt_eased that you and your client have reqLleSte<I this niedia,tio.~ and.I am very happy and hopeful tli~t
 we wilf be resolving this sftuanon·soon and sallsfadoilly !O eveiyone involved. ·

 r.lr. Jennings, we do not.seem lo be making any prog(ess wili1 the wrijten discovery approach. How would you
 feel about depositions in'preparaUon for your proposed mediation? I am interested in eventually getting
 statements from Sandra Hamilton, Dan Madison, Randy and Sally Sullivan. Travis Munter. Jaymie Larson. Rob
 Pertzboume. Susan Kozub, Nathan Minnitk and i,osslbly others,

  Perhaps, as the moving party in this issue, you can propose a scliedule of events leading up to your proposed
 ,mediations?


98. After the HOA effectively withdrew from thcir proposed mediation by failing to n:spond, the

City of Bozeman had further contact with the HOA regarding the Thompson residence at 2988

Blackbird Drive, the Thompson family's occupation of their dwelling and ongoing construction

permission agreements between the City and Peter Thompson.

99. The construction work permitted under Building permit no. 08-7435 included a main floor

bedroom with a full ADA bathroom for Peter Thompson's mother in law, Maija Katlaps. Maija

was distressed by our circumstances and long running problems in endeavoring to get her room

done in our intended family home.

         Maija was invested in completing work under building permit no 08-7435, provided

assistance in going about our title insurance claim, networked and did research thm her contacts

at church and proposed solutions to our problems with the Building department based on input



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from a local archi~t The Building Department, by and thru Bob Risk denied Maija's ideas on

how we could figure out to move furward.

        Maija was a prayer deacon at her church and often prayed for relief from our problems at

prayer meetings. Maija's reverend came to our home at 2988 Blackbird drive for several prayer

meetings to help us get through our problems in the paragraphs above. Maija was distressed and

worked to help us thru our troubles with the City in many ways. Maija passed away before we

able to finish her room in the house.

l 00. At some point in time after becoming non responsive to mediation efforts per paragraph 97

above, the HOA received copies of the agreement drafted by City Building Chief Bob Risk.

The HOA brought to the City's attention that Mr. Risk's agreement, although plainly stating on

the signing line and in other areas of the agreement that Peter Thompson hand until Dec of 2013

to complete work under building permit no 08-7435, that other aspects of the agreement could be

interpreted to only allow until Dec of2012 for the completion of the work.

l 0 I. The City responded to the HOA's input ofparagraph I 00 above and announced their

intentions compel Peter Thompson to finish work under Mr. Risk's agreement by Dec 2012. This

created a great deal of stress which contributed to my wife on several occasions thinking she was

having a heart attack that resulted in paramedic responses to 2988 Blackbird Drive as well as

time in the emergency room. We did what we could to earn enough money to keep up with the

mortgage payments and get things done outside before winter set in. During the visits leading up

to the City's announced intention to end permission in Dec of2012, Code enforcement officer

Frojae reminded us that she would turn this "case" over to the City Attorney's office if we did not

get things done in time. Mrs. Frojae also told stories about how on other projects she had helped

to get Court orders to kick folks out and had later shown up with the anned PD to help kick folks

out and board things up.




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I 02. Towards December of 2012, ,the stresses of dealing with the City's pressure became acute,

resulting in Peter Thompson receiving medical treatment at Hope House in a situation that

deteriorated. resulting in the arrest, hospitalization and the County petitioning for the involuntary

commitment of Peter Thompson.

103. The City, about December of2012 provided written notice that construction work

previously authorized via Mr. Risk's agreement was no longer allowed and that any further work

would require a new building permit and new construction documents. At this time Code

Enforcement Officer Paula Frojae's previous statement that Certificate of Occupancy no. l 0-

10130 remained valid and intact, held true.

I 04. About early January, the Code Enforcement Officer Paula Frojae turned matter over to the

City attorney's office as an expired building permit issue without mention of any certificate of

occupancy issues.

I 05. On information and belief Peter Thompson alleges that the HOA, in this time period (Jan -

March of2013) resumed complaining about habitation and or construction duration at 2988

Blackbird Drive. On March 15th, 2013, City Attorney Kyla Murray determined that due to the

City's breach of the written agreement with Bob Risk, now Certificate of Occupancy no I 0-

10130 was no longer valid. Mrs. Mutray set out tenns where the Thompson family could

acquire a new building permit, and a temporary Certificate of Occupancy but would be

compelled to complete all remaining work within 30 days and obtain a certificate of occupancy

within the same time to be allowed to lawfully continue living in their home. See Exhibit U.

106. On June 30, 2013, City ofBozeman's Chief Building official Bob Risk did in fact revoke

Peter Thompson's Certificate of Occupancy no l 0-10130. This revocation was without due

process of the sort intended and required by the US Constitution, before or after, Mr. Risk's

summary revocation of this day. Mr. Risk's revocation was also in violation ofMontana state




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law per paragraph 7-1 above. Mr. Risk's summary revocation as follows:


                                                                                                     l
                                                                                                     l.




I 07. Mr. Risk did on this same day ofparagraph 106 above, did write Peter Thompson a letter

stating that Peter Thompson was no longer pennitted to be living in his home with his fiunily at

2988 Blackbird Drive and that any and all additional work done on the structure at 2988

Blackbird Drive, without a valid building permit would be illegal. Mr. Risk's letter of this day,

also stated that any previously issued Certificates of Occupancy for the stmcture at 2988

Blackbird Drive were now revoked. However, Mr. Risk's correspondence offered no real

evidence that Mr. Risk was not again pretending in yet another act of coercion as he had in the

past (see paragraph 82 above). Mr. Risk's revocation letter did not speak specifically to

Certificate of Occupancy no 10-10130 by name. Mr. Risk's letter did not mention the established

US postal service address for the lower area dwelling unit at this time, nor did Mr. Risk's letter

provide any copy of whatever C ofO (s) he was allegedly revoking at this time. The document




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of paragraph I 06 above, was withheld from Peter Thompson until Discovery production by the

City in the matter of CR2014"00070 on December 11th, 2014.

108. City ofBoz.eman's ChiefBuilding official Bob Risk in his June 30th 2013 letter to Peter

Thompson (Risk's letter also described per paragtaphs 107 above), did somewhat explain the

actions taken on the day of his June 30th lettei- as being per Petex-Thompsons fitilure to comply

with the agreement draft by Mr. Risk. Mr. Risk explaining, ''Your original building permits

expired along with the temporary agreement I drafted to allow you an opportunity to come into

compliance."

I 09. On August 12th, 2013 Peter Thompson did write City of Bozeman Attorney Kyla Murray

on the topics of paragraphs I 03 thru 108 above. The topic of the August 12th letter to the City

being an effort to repair the City's breach of the contract drafted by Mr. Risk per paragraph 82

above, Exhibit S, (The agreement drafted by Mr. Risk allow for one full year more to complete

the work at 2988 Blackbird Drive at the time the City breeched the agreement in terminating the

agreement draft by Mr. Risk, one full year befure the end date specified) and the related

allegations that Petef Thompson and his family were no longer permitted to be living in their

home at 2988 Blackbird Drive. The other plain intention of this August 12th, 2013 letter to City

Attorney Kyla Murray was to make clear that the Qty's actions in this matter were illegal

110. The City of Bozeman remained silent to the written specifics ofparagraph 109 above and

remained similarly silent to further probing of related specifics via a series of letters and emails

to City Attorney Kyla Murray. City Attorney Kyla Murray confirmed receipt of about 7 letters

spanning from August 12th 2013 thru to January 2nd2014 on this topic. The City substantially

remained silent to all specific facts, interrogatories and requests           for information via this series of
letters to the Attorney's office.

111. Tum the acquiescence of silence (per paragraph 110) and the City's failure to provide any

direct proof of the alleged revocation of C of O no 10-10130 (Per Mr. Risk's June 30th 2013

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letter - Paragraph 107 above), on January 1st 2014, Peter Thompson wrote City Attorney Kyla

Murray a letter declaring C ofO 10-10130 as valid now in 2014 as it was when issued in 2010.

As follows:
   ..
. Y.,epnesd~y, JanuarY;.Ql.; 2014                                                         '   ,,s;.




 Kyla C:. Murray.·.
. City Prosecutor

. _Regarding Occupan~y Permit No. I O~l O1:30 ·

. Oear Kyla C. Murra;•;~· .
      .               . ,,. .         .      ...: ...    .   . ·••· '.         . "'  .~
   Having brought to .your a'ttention in lllY September 6 · 2013 Jetter to you tl,le simple fact
. t_liat.construction work pennined und~ bµilding permitNp. to- L0.!30 wl)_en complete _.was
   i1itchded LO meet ihe:City cfBozemari's'frtinimum reqti'lremcrits for occupancy,: Ed          .
: Norsby, City ofBozeman,Building Inspector, did inspec(the work when.completed and
   fouiid'ino be in corriplfarice with the ti~~itted cpnStrilC(ion documents and then issued
  .Occupancy permit Ng. l 0-1. O130 l!S per th.e \'ery same prqc!;!dure you detailed to me in
  yourSeptcinber5f'i2Ql3:Ieuet.           ··                    :>             . ·· · ·( ' . . · '.·: ' . .
. _Having no direct response on this topi~froni my September 6'h 2013 lettel-·to you
  regarding Occupancy Pcnnit No. 10-!0130, having been told by the Code Enforcement.
.-Officiir Paula Frojae that we were fine·wilh Oi;cupancy ~nnit No. 10-10130 and having ·
  received no documcnti; ever naming and or revoking Occupancy Pcnnit No. I 0-10130,
  ":e know that Occupancy Permit l'!q, 10~!0 I 30 was lawftilly issued and a document that
  will ~tand up in court.
                                                                            ,.                                '

      '·                      ,·     '.i:.      .         . ,, :,;'',   '                               .
 Ifyou or anyone !!lseyou are in contact with is aware of any minimum requirements of
 Final occupancy. as.qetailed to.me irtypur-~eptembcr Su'.,l~tter that are riot;mei by work
 completc·d under construction permit No. 10-10130, please let me know as soon as
 pos~ible and
            ,
           ,,•
              we wi)t;n,1akc
                   .
                             corre~io~(.: . ·            ·                  · ·


 Respectfully:            ,          ·.

-6---vPxd:~
  '
 Peter Thompson·




                                   DV-1&-636C -412512016 • Afldavlt Facts Paragraphs 1 ·171 : Page 32 of 49
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112. The City failed to provide Peter Thompson any evidence to conttadict the declarations of

paragraph 111 above until the City's production of Discovery relative to CR2014-00070 on

December II th of 2014.

113. CR-2014-00070 is an act of litigation that spanned approximately 210 days consisting of

165 pages of docwnents. This case was dismissed without prejudice on March 4th, 2015. The

full case files ofCR-2014-00070 will be submitted as a later Exhibit relative to third party

claims.

114. The City again brought action against Peter Thompson based on the same single ongoing

act that was the City's basis forCR-2014-00070 in the matter ofTK-15-03459. This particular

criminal suite of the City against Peter Thompson remains llll active case of the City in

Municipal Court, currently scheduled for Trial on May 3rd, 2016. If this matter is adjudicated

per Montana Rule of Law, this case will be dismissed with prejudice at some point in time prior

to trial. The full Clllie files of this matter will be submitted as a later Exhibit relative to third party

claims.

115. Peter Thompson received notice of the matter ofTK-15-03459 within one day of service of

the HOA's complaint now before the District Court as the matter ofDV-15-636C. Defense in the

matter ofTK-15-03459 has been very time consuming and strenuous. Without a decent

background of the overall all facts, every attempt at brevity thru single sets of facts per single

counts falls short of accurately communicating the circumstancll$ before the Court

Subsequently this overly long opening pleading.

116. The HOA's affirmative step in preventing Peter Thompson from getting access to

information that would shed light on how covenant changes were made, without his knowledge

or notice, while he was a propertyowner-perparagraphs 75, 76, 90 and 91; was

circumnavigated thru years of persistent questioning of neighbors met on dog walks in the park.




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 117. In 2015, the Defendant did locate someone who said they were at the meeting where

combining the HOA's was voted on. This person described this meeting as follows:

118. Notice to and voting of the members, where it Wllll decided to combine the formerly

separate HOA associations, was only to combine three associations into one. There was no notice

of substance, discussion of or voting for any substantive covenant amendment other than

combining and coru,olidating the three formally separate HOA associations into one HOA. There

was no voting quorum established at the 11ltleting. The newly formed, combined HOA, is the

entity which now brings action before the Court as the Plaintiff in this matter.

119. Document of record no. 2300076, confinns the initial statement of paragraph 118 as

follows:



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  i::r.r1oll• !Ull...C.tl.-l111 Co l'l'l'IIHC   na.m




           WHEREAS, on                    /flar•l      ,2{, . 2008. Phases 1. 2 and 3 of CetU21il Creek
 Community Asrociations conducted an election and received ballots by more
than 75'l!, or their respective members arrirmalively voting to consolid21te the
covenants for each phase or CattaH Creek. Subdivision. the Bylaws For each
pha,e of Cattail Creele subdivision and delerminlng for the betterment of all
Phases of Cattal Creek Subdivision, the governing Community Associations
should be consolideted Into one Community Association; and

120. On information and belief, Peter Thompson alleges the HOA actually voted on combining

per the description of paragraph 119 above in 2006 and failed. The various boards of directors

again put the issue to the land owners in 2007. Sandau LLC owners hold positions on the various

boards.

121. In 2007, without providing notice of an octual voting meeting were parties of the three

separate HOA 's could speak for or against the proposed combination of the three separate HOA's

as a full group of property owners at a duly held meeting. The various boards mailed out some

proxy ballots and later alleged to property owners to have acquired enough mail in ballots to

finally approve the combination of the 3 previously separate HOA 's.


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122. On infonnation and belief, Peter Thompson alleges that there was no notice of substance of

meeting and contractually required voting at a duly held meeting where 75% of the represented

property owners in fact voted to combine the formerly three separate HOA's on March 26th 2008

as described in doc. 2300076, per paragraph 119 above.

123. Requirements for amending any covenant of the former three HOA groups are consistent

with the requirements of Cattail Creek Phase 11 document no. 2131569 as follows:

                                   ARTICIE VIIl
                             MISCELLA.,'EOUS PROVISIONS

  SECTION l. In addition to he rights reserved to the Declarant to modify or supplement
  the Cattail Creek Covenants with respect to land annexed to Cattail Creek, the Cattail
  Creek Covenants, may, at anJ time, be amended or replaced upon the happening of all the
  following ewnts:

  A. The vote of Owners having not lesl1 than three-quarters (314) of the total votes of ~h
  class of o~-ners of lots then widJin Cattail Creek Covenants at a meeting of the
  Association duly held. For the purpo.es of this section, an Owner will be allowed a
  number of votes equal to the nwnber of dwelling units         assessw
                                                                   to hislher lot at the time
  of the proposed electiun. The notice of the meeting shall sli:tc !hat the purpose of the
  mooting i; to consider the amendment or rc~I of the C.utail Creek Covenants, giving
  the substance of any proposed amendments or indicating the provision3 to be iepealcd, as
  the case may be; and

  B. The recordation of a certificate of the Secretary or an Assistant Secretary of the
  Association setting forJl in t'.dl lhe amendment or amendments to the Cattail Creek so
  approved. including any poction or porti(/115 thereof repealed, and certifying that said
  amendment or nmeridments have been approved by vo!c of the Ow,1e1~ pur..uam these
  co,enants.
 124. Aside :from the statement cited in paragraph 119 above, there are no other statements within

 document no. 2300076 (this document forms the entity of the Plaintiff now before the Court) that

 can be construed as making the contractually required statements of paragraph 123 above, as

  required for the amendment of any covenant ofthe originally separate HOA covenants.




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125. The statement of paragraph I I9 above from document no. 2300076 does not certify that the

voting process occurred pursuant to the common uquirements of all of the originally separate

covenant contracts, as is required by the respective original contracts.

126. The specific contract requirement for statement certifying that voting was pursuant to the

requirements of the original contracts is as :fullows:

                                                                           .        .           certifying that said
 amendment or amendments have been approved by vote of the Owners puniuant these
 covenants.                                        ·

127. The fuilure of contract no. 230076 to make a plain statement that voting for the combining

and consolidating of the thn:e original covenant contracts occurred pursuant to the requirements

of the original contract in paragraph 123 above, constitutes a mistake of contract no. 2300076.

128. The contractual duty imposed by the original contract (paragraph 123) effectively requires

any future amendments to include a notarized statement of the Secretary or the Assistnnt

Secretary of the HOA to make a piain statement that voting did occur in compliance with the

requirements of the original contract

129. Document no. 2300076 (this document forms the entity of the Plaintiff now before the

Court), teclmically fails to fulfill the contractual i:equiremcnts of the original contracts on the

topic of combing the three separate HOA's into one. Doc. No. 2300076 is not signed by anyone

named as the Secretary or the assistant secretary of the original Phase II HOA.

130. Document no. 2300076 (this document :fulDIS the entity of the Plaintiff now before the

Court), fails to make any certified statement that land owners had notice of, opportunity to vote

at meeting for or against any proposed amendment and that successful voting occurred for any

covenant addition or deletion other than combining the three separate HOA's into one HOA.




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131. The operative contractual obligations of all the original covenants for all amendments and

or deletions of covenants is specifically as follows;


 Creek ?ovenants, may, at any time, be amended or replaced upon the happening of all the
 followmg e~nts:

Per above, all of the following events and certifications that all such events have in fact occurred

are contractual requirements for any I all ammendments or deletions to the original covenant

contracts.

132. Section A of Article VIII (paragraph 123) requires as follows:


 A. The vote of Owners having not less than three-quarters (3/4) of the total votes of each
 class ~f- Owners of lots then within Cattail Creek Covenants at a meeting of the
 Assoc1anon duly held.

I 33. Per section A above(paragraph 132), the requirement is for 75% property owner approval at

meeting of the Association duly held. This particular contract clause effictivly prohibits

gathering of proxy ballots after a meeting for subsquent and later final voting approval.

Furthennore, there is no provision that would allow for use of mail out or mail in ballots.

134. Other administrative Articles of the Covenant contract do have provisions for proxy votes to

make decisions relative to required management actions and leviing of fees as need to keep the

HOA opperational.

135. Articles that do allow for proxy voting have their own Article topic specific tenants for

proxy voting.

136. Article VIII includes provisions for ammendment of the Covenents. Article VIII has no

article specific provision for the use of proxy votes in ammending the Covenants.

13 7. The operative contractual obligations of all the original covenants for all amendments and

or deletions of covenants is specifically as follows:




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 Creek ~ovenants, may, at any time, be amended or replaced upon the happening of all the
 followmg events:
  A.
        _ .           .       The notice of the meeting shall state that the purpose of the
   meeting 1s to consider the amendment or repeal of the Cattail Creek Covenants, giving
   the substance of any proposed amendments or indicating the provisions to be repealed as
   ~~~-~                                                                               '
138. Per paragraph 137 above, notice of the substance of any proposed ammendment or repeal of

any provision must be given for all additions or deletions to any of the original covenant

contracts prior to having the required duly held meeting as described in pargraph 132 above.

139. The common contractual elements for udditons or deletions to all of the original covenant

contracts that were combined to fonn the CWTent HOA\ Plaintiff in this complaint are

summarized in Peter Thompson's words as follows:

        A. Notice of substance of addition or deletion of of each contractual arnmendment prior

to a Duly held meeting.

        B. Assembly of property owners at a Duly held meeting where there is a opportunty for

property owners to speak for or against, any and all proposed changes to the covenant contract

where 75% of the property owners do vote in favor of the previosly noticed additions or

deletions to the covenant contract.

        C. Recordation at the Court house of a certified statement of the Secretary or the

Assistant Secretary of the HOA stating that voting occurred persuant to the Covenants and said

certificate is also required to state specifically what deletions were in fact made and what specfic

additions were made.

140. There are a variety of covenant amendments within document no. 2300076(this document

forms the entity of the Plaintiff now before the Court)that were not a part of any of the original

three association covenant documents which were combined into document no. 2300076.

141. Change in Voting Majority needed to allDDend covenats as followi;:


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All of the original covenants required a 75% voling majority to ammend covenants, now the

active members under the refonned HOA of2008(Per docwnent no. 2300076 - this document

forms the entity of the Plaintiff now before the Court) may more easliy change the covenants

with a lesser 2/3 majority as follows:




                     The vote of Owners having not less than two-thirds (2/3) of the total votes
                     within Canan Oeek at a meeting of the Association duly held. The notice
                     of the meeting shall :state that the pupose of the meeting i5 to consider
                     the amencment or repeal of the Cattail Creek Covenants. giving the
                     substance of any proposed amendments or indicating the provisions to
                     be repealed. as the case may be: and




142. Changing from a 75% percent majority needed to ammend covenants to 66% majority

needed to annnend covenents is a subtanative change to all the original covenant contracts that

would require enactment in complaince with Article VIll Section I to be a lawfully enacted

ammendment to the original covenat contracts.

143. The ammendment described in pargraph 141 is an ammendment of the original coveant

contracts that goes beyond the scope of property owner approval for ammendment alleged by the

HOAperpargraph 119 above.

144. Hold Harmless water waiver changes as follows:

None of the original three covenant contracts provided any agreement to hold harmless, the

Farmer Canal Company, it's successors, Covenants Investments Inc, it's officers, directors or

successors in interest, the Communtiy Associatoin nor adjacent land owners. The only




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statements regarding water level hazards or soil hazards found by Peter Thompson in the original

covenants merely pertained to the Design review committee as follows:

SECTION 5. Limitation of.R.espomiblities

The primary goal of the CCDC is to review the submitted applications, plans,
specifications, materials, and samples in order to determine if the proposed structure
conforms to the Cattail Creek Subdivision covenants. The CCDC does not assume
responsibility for the following:

The S1ructural adequacy, capacity, or safety features of the proposed structure or                 '
improvement.

Soil erosion, ground water levels, non-compatible or unstable soil conditions.



                  llhtlUe,   v.,,....11.un ca 111' 11uc          2111. 1111
 Compliance with any or all building codes, safety requirements, and governmental laws,
 regulation or ordinances.



The covenants refiled in 2008 (Per document no. 2300076 - this document forms the entity of the

Plaintiffoow before the Court) provide that apon acceptance of the covenant 5.4(b), the land

owners agree to hold harmless a variety newly introduced entities as follows:




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                5.4 Nollce or Water Featwes
                (a) Notice: Each owner of property Within Cattail Creek. as individuals and
                    as members of the Association, acknOWledges the presence of water
                    features within the subdivision. Each owner of property within Cattail
                    Creek. as Individuals and as members of the Association.
                    acknowledges that water could pose a danger to humans, arimal life
                    ana propeny. By tnls ac1<noW1edgment. each owner oc propeny within
                    Cattail Creek. a5 individul'lls and as member, of the Association
                   assumes ltle normal and orcllna,y consequences of their actions when
                   in, next to or in the vicinity of water features within Cattail Creek.

               (b) Hok:j Harmless: Each owner of property within Cattail Creek, as
                   individuals. agrees by acceptance of this covenant to hold harmless
                   Covenant Investments, Inc.. its officers and directors, and successors in
                   interest, the Community Association. adjacent property owners, and
                   the Farmer Canal Company and Its successors In !merest for any water
                   related injury to persons, property and animals and damage due to
                   acts or God and nature. including but not limited to a nood from the
                   canal and other water features resulting from circumstances beyond
                   lhe control of the parties lstecJ herein.

               (c) Insurance: Each owner of property within Cattail Creek acknowledges
                   that it is advisable to seek insurance to protect the owner's property in
                   the case of a water event relating to the water features.

145. Holding harmless a range of entities not previouvsy cnttilcd to such protections under any

of the original covenant contracts is a subtanative change to all the original covenant contracts

that would require enactment in complaince with Article VIII Section I to be a lawfully enacted

ammendment to the original covenat contracts.

146. The ammendrnent described in pmgraph 144 is an ammendment of the original coveant

contracts that goes beyond the scope of property owner approval for ammendment alleged by the

HOAperpargraph 119 above.

147. Change in responstoility for legal fees as follows:
The original Phase II covenants stated:



                                   l1I11I1I11111
                                   lheUQ Y-Wtalln Ca RT "[Ill                Ul.111
                                                                                       ~;~:!:•,~
   Enfoi:cement of ~ese covenants by Declarant, CCI)(:, Board, Owner or any party having
   standing, shall include for the party seeking enforcement and prevailing in such
   enforcement. an award of costs, fees and reasonable attorney's fees.




                     DV-15-636C-~016-Afldavit FaclSParagraphs 1 ·171 : Page 41 ot 49
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The new filed covenants of2O08(Per document no. 2300076 - this document fonns the entity of

the Plaintiff now before the Court) establish an improved postion for the drafter of the contract

relative to recovery oflegal fees, if then when litigation breaks out. Per below, the first

paragraph was part of all the oringinal covenants, the second paragraph was not part of any of the

original covenant contracts:




                 Enforcement of these Covenants by the Declarant, CCDC, Board of
                 Directoo, OIMler or any party having standing, shall lndude for the party
                 seeking enforcement and prevamng In such enforcement, an award of
                 costs, fees and reasonable attorney's fees.

                 Should any lawsuit or other legal proceeding be instituted by the
                 Association or an owner against an owner alleged to have Violated one
                 or more of the provi3iom of these Covenants and should the Association
                 or owner enforcing the prowions of the Covenants be whoUy or partiaUy
                 successful in such proceedings, the ollencing owner shall be obligated to
                 pay the costs of such proceeding, including reasonable attorney's fees for
                 all lime associated with the action.




148. Allowing the HOA to recover Attorney's fees for all time associated with any legal action

wherein the HOA only partially previals in ligation is a significatly more dominant legal postion

for the dafter of the new revised contract (Per document no. 2300076 - this document forms the

eotity of the Plaintiff now before the Court) which none of the original HOA's were previously

enttiled to under any of the original covenant contractl!. This is a subtanative change to all the

original covenant contracts that would require enactment in complaince with Article VITT Section

I to be a lawfully enacted ammemlment to the original covenat contracts.

149. The ammendment described in pargraph 147 is an ammendment of the original coveant

contracts that goes beyond the scope of property owner approval for ammendment alleged by the

HOA per pargmph 119 above.




                     DV-15-636C--412512016 -Afldavlt Faas Pamgrapha 1 -171 : f'age 42 ol 49
                                                Page 77 of 120
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 150. On information and belief, Peter Thompson alleges that Mr. Jennings participated in the

 drafting of document no. 2300076 - this document fonns the entity of the Plaintiff now before
the Court

 151. On information and belief, De:fi:mdant Peter Thompson that Mr. Jennings drafted the second

paragraph of the new covenants (document no. 2300076 - this docwnent forms tbe entity of the

Plaintiff now before the Court) seen in paragraph 147 above.

152. Inequitable contract clauses such as the HOA has rights to collect fee's for all cost of

litigation even though they may only prevail on a de minimus aspect of litigation demonstrates to

the Court the importance of establishing that these covenant contracts now before the Court are

in fact adheasion contracts and should be adminsi•tered as such in Montana Courts.

153. This particular contract clause (second pargraph, doc. No.2300076, at 147 above) takes

away the Court's authority to determine whether or not there was a previailing party and if not,

whether or not a partially prevailing party is deserving of reimbursemnt for legal expenses.

154. Repeal ofland use restriction as follows:

        Rob Pertzbom of Inlrinsik Archticture, for the benefit ofhis client (The Klos Living

Trust, owned by James Mitchell, James and Jane Klos) did facilitate the conversion of8 original

Phase II lots into 12 smaller lots capable of24 dwelling units when ADU permits are granted.

Rob Pertzbom of Instrinsik Architecture, did use his inside knowledge of the low denisty .25

acre lots in Phase II to help his client capitalize on subdividing these lots to be more conforming

with the original medium density zoning of this area. Rob Pertzbom did descibed the neigbors

response at public meetings where he did aquire legal rights fur the benefit of The Klos Living

Trust to bring the subdvision density of the proposed Foxttail Street Subdivision, more in line

with the intended medium density zoning for this area within Cattail Creek Phase TT, along the

lines of, the locals turned out with pitch forb and torchs to oppose the subdivision, they said the

neighborhood would end up like Valley West and they did not want this.

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155. Phase m residents had deeded protection against increases in dwelling unit density as

follows:




 R-1 and R-2    lots shall not be further subdividal individually or as a group to increase
 density.


156. With the formation of the new combined HOA in May of 2008, via deletion offonneT

members of the Phase ill area lots ban on further subdivision of oversized lots. substanative and

significant changes in proportyrigbts were made. Now Phase ill owners are no longer bound by

this restriction with the combined HOA (Per document no. 2300076 - this document forms the

entity of the HOA now before the Court).

157. Repealing Phase m HOA's restriction on further subdivsion to increase density, as Phase m

owners were previouvsy enttiled to protection from under their original covenant contracts, is a

subtanative change to the Phase m covenant contracts that would require repeal in complaince

with Article VIII Section I to be a lawfully enacted repeal of the original covenat contract.

158. The repeal of deed restriction described in pargraph 155 is an ammendment of the original

coveant contracts that goes beyond the scope of property owner approvnl for ammendment

alleged by the HOA per pargraph 119 above.




                     DV•15-636C • 4/25/2016 • Alida>lt Facts PBra!lraplls 1 ·171 : Page 44 ol 49
                                                  Page 79 of 120
      Case 2:18-cv-00075-BMM-JCL Document 1 Filed 11/30/18 Page 80 of 120
 159. Excerpt of Phase II HOA covenant contract Exlnbit Bas follows:




                                                      EXIIIBITB

                                                Cattail CftQk Subdivision
                                                         Phuell
                                                   Pnperty Setbadrs

                                                                       Fnmt           Side      Rear
                               Fronting                                Y11rd          Yard      Yard
       Block   Lot#             Slreet                  Zolle         SelbllCk       Setback   Setbauk   Notell
         !)     I         Blackbird Drive                  R-2          20'            5'        20'      13
                 2        Blackbird Drive                  R-2          20'            5'        20'       3
                 3        Blackbird Drive               R-2             20'            5'        20'       3
                 4        Blackbird Drive                  R-2          20'      i     s·        20'       3
                 s        Blackbird Drive                  R-2          20'      I     5'        20'       3
                 6        Blackbird Drive                  R-2          20'            S'        20'       3
                 7        Blackbird Drive                  R-2          20'            5'        20'       3
                 8        Blackbird Drive                  R-2          20'            s·        20'       3
                 9        Blackbird Drive                  R-2          20'            5'        20'       3
                10
                11
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                          Blackbim Drive
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                12        Blaclcbinl Drive                 R-2          20'            51        20'       3
                ..
                13        Blackbird Drive
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160. Some property owners relied on Exhibit B(of doc. No. 2131569) above, in determining their

percieved allowable use of land purchased and sold within Cattail Creek Phase II between 2004

and 2008.

161. Exhibit Mis an example ofhow one property ownerunder.itood the allowable uses of the

land they had purchased and were trying to sell. Property owners who were bound to the original

covenants which contained incorrect infonnation were possesing of contractual rights to have

knowledge of how, when and why incorrect parts of the contiact they were bound to were made.

162. Deletion ofExhibitB from the original Phase II covenants (Doc. No. 2131596) during the

drafting and adoption of the revfaed and ammended covenants represents a repeal or

ammendment of an aspect of covenant contract such as would require the ammendment or repeal




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to be in complaince wilh Article VIlI Section I to be a lawfully enacted ammendment or repeal of

the original covenant contract

163. The deletion descnoed inpargraph 162 is an ammendment of the original covenant contract

that goes beyond the scope of property owner approval for ammcndmcnt alleged by the HOA per

pargraph 119 above.

164. Deletion of Exhibit B from Doc. No. 2131569 and relpacement of Exhibit B from Doc. No.

2121569 with Exhibit B of the revised covenants(document no. 2300076- this document forms

the entity of the HOA now before the Court) represents a correction of misleading information

within original covenant contract doc. No 2131569.

165. Regardless of the motivation for the action descn"bed in paragraph 164 above, HOA

management owed a duty to the property owners to advise them of the erroneous information of

the original contract and to follow lhe appropraite proceedures for ammending the contract to

correct the erronious information there in.

166. Exhibit B of the revised covenants (Per document no. 2300076 - this document foam; the

entity of the Plaintiff now before the Court) functionally replaces Exhibit B of the Phase II

covenant contract described in paragraph 159 above. Exhibit B of the revised covenant contract

is no more legible in the Court House records than it is pasted below. Exlubit B of the revised ·

covenant contract as follows:




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               Exhibit 8: Phase Exhibit


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167. Cattail Creek Phase II covenant contract, doc. No. 2131569 is a contract entered into by

Peter Thompson where in Peter Thompson had no meaningful choice regarding acceptance of the

contract provisions prior to purchasing land within Cattail Creek Phase II (this was a take it or

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leave it encumbrance of title at closing) nor was there any opportunity for the Peter Thompson to

freely negotiate the terms of the covenant contract prior to or at the time of execution of the land

transaction which indirectly bound the Peter Thompson via an encumbrance of title. The actual

covenants were not presented at closing by the seller nor has Peter Thompson ever signed any

covenants of Cattail Creek: Phase II or even the new revised and amended covenants.

168. Peter Thompson became a property owner under the Cattail Creek Phase II covenants on

February 27th, 2008. Peter Thompson received no notice of meeting to change any covenants

nor any notice of substance of any proposed covenant amendment or repeal prior to the recording

of document no. 2300076, - this document fonn.o; the entity of the Plaintiff now before the Court,

on May 15th, 2008.

169. Peter Thompson has had no opportunity to freely negotiate the terms ofthe revisions

covenant contract no. 2300076. This speaking particularly to contract revisions detail in

paragraphs 140 thru 168.

170. The inability of any one property owner to change or amend the covenant contracts is

proven by the fact that the Developer working with a group of like minded property owners was

unable to legally make an apparently innocuous covenant amendment in 2006. The altcmpted

amendment was to simply combine the separate HOA's into one for ease and efficiency of

management. It may appear on paper that a given property owner has the ability to negotiate the

terms of the covenant contract, but the intractability of the contract is in reality beyond the ability

of any given property owner to overcome.

171. Despite the affirmative steps of the HOA in preventing Peter Thompson access to historical

information regarding how changes to the original covenant contract came about, per paragraphs

7S, 76, 90 and 91, in 2016 Peter Thompson obtained tbe copies ofHOA's past publications that

describe certain aspects of the notice of substance of change, meetings and how voting occurred




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      in the establishment of the current HOA entity taking action against Peter Thompson. See
      ExhibitV.



                           Peter Thompson does solemnly swear that the statements contained in this
      affidavit are true to the best of his knowledge and belief.




                           DATED this 25th day of April 2016.



                                                            BY:     -fdcJ-b
                                                                      Peter Thompson
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                                                                      Pro Se Litigant with limited Scope
                                                                      Representation




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                                                  Exhibit F·




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                                                                           Exhibit G:
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                                                                  Exhibit J:
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                                                                                                                              J-340      Exhibit J:

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                                                                 PLAT OF" CATTAIL CREEK SUEIDMSION, f1t-lASES 2A &: 28
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                                                           ~xhibit M:
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  ALL FIELDS CUSTOMIZABLE 2

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                                                              SUBDMSION lOT
                                                                                               Acreage

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                                                                                                                                 -1 Arzo
                                                                                                                                 City
                                                                                                                                 NotAlklwed
                             Address                          lBD BlACKBIRD DR         Wtr Aman                                  Yes
                             Addn>ss2                         LDT 3 BLOCK9 CATTAIL SUB ZAnlng                                    R2- Residential 2-household,
                             City                             BOZEMAN                                                            Medium Density
                             s-                               NT
                             Zlp                              58718
                             Ania                             llozN oalainlE offllill 1NE
                             Cla55                            LAND
                             Aslclng Ptlr:e                   $117,000
                             Sale/Rent                        For Sole
IGENERAL
NumberDfAcms                            0.2630                                  Price Per Acre                           444866.92
ApxlotSz                                .263                                    Subdlv.                                  CalhiD Creek
DJntctlona                                                                      Zoning Distri,:t                        yeo
Covenant                                yes                                     ApproxSqR                                11455
Price per SqFt                          10.21                                   Days On llarbt
IFEATURES
WATEKAMENmES
                                                                                                                         172



 Stream

IFINANCIAL
ApxTu$                                  466.3!)                                 Tax Year
IPUBLIC INFORMATION
                                                                                                                        2006


ldeol bullling IOI lltat backs to open space and aeek. Close lo the park, with beautiful mcunain - a n d an in-lllwn selfing, lhis 11,455 +I- SF lot is hard to b
aall

IADDITIONAL PICTURES




IDISCLAIIIER
lnrotmalion pro¥icled by Gallatin l\soOCiation of REAlTORSISouthweot Mon1ana PJlS ii c:cmpiled Imm mfocelloneoos oourceo. N-.. lhe Allsoc:lati011,
listing brokOB, agenll or subagenlS are responsible fnr ils • - - MLS users should be a<lvised end 3hould advise prospeeliw p.-asets to verily ell
lnfamation in regard to the property by their OM\ Independent Investigation pria- to submitting an offer to Jmo!>ase the Pfflll8tlll. Copyright 2007 Southwest
Montana MLS.




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     Case 2:18-cv-00075-BMM-JCL Document 1 Filed 11/30/18 Page 94 of 120
                 Sllelley Va--0.llaUn C. Nf ftlBC        20.11111

                                            EXHIBITB

                                      Cattail Creek Subdivision
                                              Pbasell
                                          Propeny Setbacks
                                                         Front       Side      Rear
                      Fronting                           Yard        Yard      Yard
Block    Lot#           Street               Zone       Setback     Setback   Setback   Notes
                                                                      S'
 '        l
          2
          3
                Blackbird Drive
                Blackbird Drive
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                                              R-2
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                                                                                         1,3
                                                                                          3
                                                                                          3
          4     Blackbird Drive               R-2         20'         S'        20'       3
          5     Blackbird Drive               R-2         2(1         S'        20'       3
          6     Blackbird Drive               R-2         2(1         s·        20'       3
          7     Blackbird Drive               R-2        20'          5'        20'       3
          8     Blackbird Drive               R-2        20'          S'        20'       3
          9     Blackbird Drive               R-2        20'          5'        20'       3
         10     Blackbird Drive               R-2        20'          S'        20'       3
         11     Blackbird Drive               R-2        20'          5'        20'       3
         12     Blackbird Drive               R-2        20'          5'        20'       3
         13     Blaclcbird Drive              R-2        20'          5'        20'       3
         14     Blackbird Drive              R-3A        20'          S'        20'      1,3
 10       l       •   TUI.LIii.   Court       R-3        20'          S'        25'       1
          2       Troha Court                 R-3        20'          S'        25'      1
          3      Cattail Street              R-3         20'          5'        25'
          4      Cattail Street               R-3        20'          S'        25'      1
 11       1           FenWav                 R-3         20'          5'        25'      1,4
          2           FenWav                  R-3        20'          S'        25'      4
          3           Fen Way                 R-3        20'          5'        25'      4
          4           Fen Way                R-3         20'          S'        25'      4
          5           FenWav                 R-3         20'          5'        25'      1,4
 12       I       FenWav                      R-3        20'          5'        25'      1,4
          2       Fen Way                     R-3        20'          5'        25'      4
          3       FenWav                      R-3        20'          5'        2S'      4
          4       Fen Way                     R-3        20'          S'        25'      4
 13       1      Catron Street               R-3         20'          S'        20'       I
          2      Catron Street                R-3        20'          5'        20'
          3      Catron Street                R-3        20'          5'        20'
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          5      Catron Stieet                R-3        21Y          5'        20'
          6      CatronStn:ct                 R-3        20'          5'        20'      1
 Untitled Document                                                    http://1vww.gallatinidx.com/printable_ nyer.php?si1e_id"'22S&mls=.••
                 Case 2:18-cv-00075-BMM-JCL Document 1 Filed 11/30/18 Page 95 of 120

                                               Exhibit 0:                                           I mtskyrealty@aol.com

                                                                            MLS# 135502
                                                                            Asking Price:     $119,000
                                                                            Cass:             Land
                                                                            Type,             Bldg Lot Under 1 Aae

                             No Image                                       status:           Active


                             Available
                                                                            Acres:
                                                                            Lat Size,
                                                                            Horse:
                                                                                              "'"
                                                                                              nfa
                                                                                              Not Allowed

                            At This Time                                    Water,
                                                                            water Amen.:
                                                                                              aty
                                                                                              Yes
                                                                            Forest:           NO
                                                                            Mobile/Manu/MDd; Not Allowed
                                                                            Topography:       n/a
                                                                            zon•g:            Other, Res
                                                                            SubdiwislOII;     CattallCreek
                                                                            Address:          L7 B9 cattail Creek Blackblnl




         Desalptlon
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                                                                            City;


                                                                            Zip:
                                                                                              Boreman
                                                                                              MT
                                                                                              59718




         RARE FIND. IARGE aTY LOT lDCATcD ON THE PARK. CREEK, WALKING TRAILS AND POND MCI< UP TO THE LOT. GREAT
         MOUNTAIN VIEWS. GREAT LOCATION.

              Domestic: Water:                          Road:                                Telephone;
              • City                                    - Psw:d                              -To Lot
              Electricity:                              Sewer.                               View:
              ·To Lot                                   - City                               - View   or Mnts
              Natural Gas:                                                                   • Pond/lake
              • Aval/able




                        Search results are produced tt11ough the Southwest Montana Multlple Listing Service, Inc.
           All lnrormatlon Is provllled exdUSlvely fDr consumers· personal, non-commercial use and may not be used ror any
           purpose other than to Identify prospective properties consumers may be Interested In purchaSing. lnfonnatlon Is
                    deemed reliable but not guaranteed and should be Independently verified. Data updated nightly.
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       Case 2:18-cv-00075-BMM-JCL Document 1 Filed 11/30/18 Page 96 of 120
                             COMMISSION RESOLUTION NO. 3486

         A RESOLUTION OF THE CITY COMMISSION OF THE CITY OF BOZEMAN,
         MONTANA,ADOPTING A NEW GROWTH POUCY FOR THE BOZEMAN PLANNING
         AREA KNOWN AS THE BOZEMAN 2020 COMMUNITY PLAN.


         WHEREAS, the City of Bozeman has established a Planning Board pursuant to Section
76-1-101, MCA, and

         WHEREAS, the City Commission of the City of Bozeman. Montilna requested the Planning
Board to undertake the preparation of a growth pofacy for the City of Bozeman. and

          WHEREAS, tho City of Bozeman Planning Board caused to be conducted extensive forians
for public participation to identify areas of community concern, and

         WHEREAS. the City of Bozeman Planning Board has prepared a new growth poUcy
designated as the Bozeman 2020 Community P/1111 to supercede the 1983 Bozeman Area Master Plan
and the 1990 Bozeman Area Master Plan Update; and

        WHEREAS. the Planning Board has prepared the new growth policy pursuant to the
requirements for growth policies established by Section 76-1-601. MCA; and

          WHEREAS. the Planning Board conducted three public hearings on the proposed new growth
policy, as required by Section 76-1-602, MCA, on April 10, 2001, April 12, 2001 and May 17, 2001,
and considered the recommendations and suggestions elicited at said hearings; and

         WHEREAS, the Planning Board found that with amendments the proposed growth policy
constitutes an improvement to the 1983 Master Plan end 1990 Master Plan Update and complies
with the requirements of state law. and

         WHEREAS, subsequent to its public hearings, the Planning Board. by Resolution,
recommended adoption of the Bozeman 2020 Community Plan with accompanying amendments as
the City's official growth policy; and

        WHEREAS, the City Commission held a public hearing on September 10, 2001 for the
purpose of receiving public testimony regarding the Planning Board's recommended draft of the
Bozsman 2020 Community Plan, and
         WHEREAS. the City Commission deems it necessary for the purpose of updating the
Community Plan and complying with the conttmt requirements of growth policies established by
Section 76-1-601. MCA., to adopt a new growth policy; and

         WHEREAS. the City Commission found that with amendments the proposed growth policy
constitutes an improvement to the 1983 Master Plan and 1990 Master Plan Update and complies
with the requirements of state law, and


.       NOW, THEREFORE, BE IT RESOLVED by the City Commission of the City of Bozeman,
Montane. that:

                                            Section 1
         That the growth policy for the Bozeman Planning Area as prepared and submitted by the
Bozeman City Planning Board by that document designated Bozeman 2020 Community Plan, as
amended by the Planning Board by Resolution No. P.9851, which Resolution by reference is made
a part hereof and incorporated herein, and as further amended by the City Commission on September
10, 2001, and as further amended by the City Commission on October 15, 2001, said amendments
being set forth in the document. be and is hereby adopted as the Growth Policy for the Bozeman
Planning Area pursuant to Section 76-1-604, MCA.



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                             ~Xhlblt P:
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          That the attached maps, including the official Community Plan Land Use Map, plans, and
policies, as currently adopted and as amendad from time to tme, together with all matters and things
shown on such maps and articulated in such plans and policies, are adopted and appro11ed,
incorporated herein and made a part hereof and collectively shall constitute the official Growth Policy.

                                               Section 3
DIIBCtive.
           That staff is directed to prepare a presentation draft of the adopted text and map to
facilitate the use of this growth policy by the public.

                                               Section4
Saverability.
          If any provisions of this growth policy or the application thereof to anv person or
circumstances is held invalid. such invalidity shall not effect the other provisions of this growth policy
which may be given effect without the invalid provision or application and, to this and, the provisions
of this growth policy are declared to be severable.

                                               Section 5
Savings Provision.
          rhis growth policy does not affect the rights of duties that matwed, penalties and
assessments that were incurred or proceedings that began before the effective date of this resolution.
The amendment of any map, plan. or POiicy which has heretofore bean adopted and incorporated into
the official Growth Policy, or the adoption of any subsequent map. plan, or policy, to the extent
inconsistent or in conflict with the official Growth Policy. shall not operate as an amendment, repeal.
or partial repeal of the official Growth Policy.

                                               Section 6
Effective Data.
          Thill growth llOliCV shall be in full force and effect upon passage.


         PASSED AND ADOPTED by the City Commisllion of the City of Bozeman, Montana, at a
regular session thereof held on the 22nd day of October 2001.




ATTEST:




Clerk of the Commission




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                                               Page 97 of 120
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                               COMMISSION RESOLUTION NO. 3630

          A RESOLUTION OF lHE CITY COMMISSION OF THE CITY OF BOZEMAN,
          MONTANA, ESTABLISHING AN AFFORDABLE HOUSING POLICY FOR THECITY
          OF BOZEMAN AND SUPERSEDING THE AFFORDABLE HOUSING POLICY
          PREVIOUSLY ADOPTED BY COMMISSION RESOLUTION NO. 3037.

         WHEREAS, the City Commission dld, on the 19th of December 1994, adopt Commission
Resolution No. 3037. establishing an affordable housing policy, based on the recommendations of its
Bozeman Housing Task Force: anci

         WHEREAS, the Community Affordable Housing Advisory Board ldenUfled the need to amend the
affordable housing policy to more accurately reflect current needs; and
         WHEREAS, the City of Bozeman entered into an agreement with Bay Area Economics to conduct
a study and submit recommendations for a new affordable housing policy; and
         WHEREAS, Bay Area Economics submitted its recommendations to the aty of Bozeman in May
2003;and

         WHEREAS, the Community Affordable Housing Advisory Board subsequently modified those
recommendations to more accurately reflect the community needs; and
         WHEREAS, the City Commission, at its meeting on September 8, 2003, indicated general
support for the recommended policy.

         NOW, THEREFORE, BE IT RESOLVED by the City COmmiSsion of the Oty of Bozeman,
Montana, that the Commission hereby adopts the Affordable Housing Strategies, dated September 22,
2003, e copy of which is attached hereto as Exhibit "A" and by this reference made a pert hereof.


         PASSED AND ADOPTED by ttie City Commission of the City of Bozeman. Montana, at a regular
session thereof held on the 22nd day of September 2003.


                                                     s,4~~-yo_r_-___
Clerk of the Commission




                                             Page 98 of 120
                             Exhibit Q:
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                                                                         Exhibit "A"

                            AFFORDABLE HOUSING STRATEGIES
                                   September22,2003

Sfnltegyl.     Houstng Atrorrlability Guidallnes
       1.      The City will use the HUD Gaffatin County Area Median Income (AMI) or, if
               supplied, the HUD City of Bozeman Area Median Income (AMI).
        2.     Using HUD definitions, households shall pay no more than 30% of their gross
               annual income towards their housing payment
       3.      Bozeman's Standard Housing Affordabirity Income Guidelines for homeowners
               are 61-100% of the AMI.
        4.     Bozeman's standard Housing Affordability Income Guidelines for renters are
               40% to 60% of the AMI.
strategyn.     Regulatory and Prvcess Reform:.
       1.      Major site plans with no deviations can be approved by City planning staff.
       2.      Concurrent development of infrastructure and housing should be allowed for
               affordable housing in appropriate situations.
        3.     Whenever practical, all City Departments will give priority to projects that
               exceed affordability requirements.
        4.     As opportunities arise, City Staff wiH e,cplore wars  to reduce development
               costs without compromising the livability and quality of the neighborhood.
        5.     The City will continue to work with the legislature to revise subdivision
               guidelines to encourage more dense development.
        6.     The City will develop systems to provide details on types of units being
               developed. Information Aathered shall Include lnvento~ng vacant land,
               existing housin~ and buUaings, and tracking new subdivisions in order to
               provide market 1nfonnation.
        7.     The City will invite the businesslbuilding community to suggest possible
               additional regulatory and process reforms and streamlining that would promote
               construction and rehab of affordable housing.
Strategy HI.   Restrlded Size Lois (RSL.J & Restricled Sae Units (RSU)
       1.      As stated in the 2020 Plan, every residential annexation into the City of
               Bozeman of five acres or more, that is not zoned as Residential Suburban
               shall have a minimum net acreage density of 6-8 units when subdivided.
        2.     Every residential annexation of five acres or more that is not zoned as
               Residential Suburban shall have a minimum of 10% of the buildable net
               acreage dedicated to Res1rtc\ed Size Lots (RSL) that are 4,888 to not greater
               than 5,000 squarefeetfor:.iefamilyhousehold detached (SFD SHD)and
               2,588 to 3,000 for single       · household attached (ASF SHA) units when
               subdivided. The RSL &hall be designeted designation shal be recorded with
               on the final subdivision plat
        3.     The total floor area of the unit built on an RSL (minus the garage) shall not
               exceed a ratio of 1:3.3. Units built on RSLs shall be known as Restricted Size
               Units (RSU). Example if the lot is 4,000 square feet the square footage of the
               house can not exceed 1212, ore ratio of 1 square foot of floor area per every
               3.3 feet of lot
        4.     In Heu of designating the required number of RSL for market sale with the final
               plat, the owner may provide a donation by fee-simple transfer of title of
               buHdable donate de.eloped RSL.s to the Cify, c,11 a one donated !"or tluee
               , equi, ed basis with 1 fee simple transfer RSL being equivalent to 3 for market
               sale RSLs. The City will utilize donated RSLs or the proceeds of sales only
               for affordable housing.
        5.     In lieu of designating RSLs wilhin the subdhrisioi, being ai11,fted, annexed
               land being subdivided the owner may designate off-i;ite oomparable RSl...s"1ffl

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                                            Page 99 of 120
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       Case 2:18-cv-00075-BMM-JCL Document 1 Filed 11/30/18 Page 100 of 120
                a one requhed for 011e 1eplaeed basis at a ratio of 1:1. The subdivision
                rontaining the off-site fee smple transfer RSLs cannot be comprised of more
                than 50% RSLs without prior City Commission approval. The off-site fee
                simple transfer RSL shall be established and transferred to the City not later
                than the time of final plat approval of the subdivision responsible for creating
                the fee simple transfer RSL.
       6.       Within multi-household zoning distrids and with approval from the City
                Commission, the area required for RSL.s may be assembled into larger lots to
               allow construction of affordable housing complexes.
       67.     At residential annexation, in lieu of supplying the required number of RSLs, the
               owner may pay a "cash in lieua fee to the City. The payment shall be
                calculated as the appraised value per square foot of developed land within that
               specific subdivision at the time of final plat approval m1:1ltiplied by 3,425 (the
               a,el'!lged slm of a SFA er   sr=e,      mttltlplled by the number of reqt1ired RSL.
               The cost per square foot shall be multiplied by 5,000 in single household
               districts and by 3,000 in multi-household districts for each required RSL. The
               appralsal cost shall be borne by the owner of the land being subdivided. The
               City will use payments in lieu of RSLs only for affordable housing.
      'ffl.    City staff will give high priority to ensuring that RSURSU language is included
               in the Unified Development Ordinance as soon as possible in autumn 2003.
               This language will be subject to the sunset clause desaibed in Strategy IX.
strategy IV.    Home Ownership Progra,n
       1.       The City shall ceuse to be developed a down payment assistance program for
                home purchasers whose household income meets Bozeman's Standard
                Housing Affordability Income Guidelines.
        2.      The down payment assistance program shall include components of home
                ownership education and counseling, information on mortgage products and
                affordable housing assistance programs, and referrals to developers of RSU.
        3.      Families who meet the City's Standard Housing Affordability Income
                Guidelines, have completed the down payment assistance program, and
                qualify for a Class A Mortgage shall be known as target income purchasers.
        4.      Households whose income is below Standard Housing Affordability Income
                Guidelines, but meet all the other criteria of a target income purchaser, may
               be considered for down payment assistance; however, the households must
               have additional financial assistance from altemate sources so that the amount
               of the City's down payment assistance does not exceed the amount generally
               supplied to target mrome purchasers.
       5.      The City shall develop a system to track RSL and buHding permits for RSU so
               that target income purchasers can be notified when units are being developed.
       6.      During !he construction process, bulders of RSU will give priority to target
               income purchasers Who qualify ID purchase the home.
       7.      The down payment assistance program will work with local lenders and state,
               federal and private affordable housing programs to develop a variety of home
               ownership options and information packets for interested parties.
Stnm,gyV.       "Ve,y Low-Income Units• Development Incentives
      1.       'Very low-income• is defined as housing that is affordable to households
               whose income Is below the City's adopted Standard Housing Affordability
               Income Guidelines. lnG811tive developed housing is affordable to households
               whose gross annual income is below 60"/4 of the AMI for for-sale-homes or
               40% of the AMI for rentals.
       2.      Conditional upon prior City Commission approval and funding availability, an
               affordable housing developer may enter into an agreement with the City to
               receive building permit fee waivers, waiver of other City fees, impact fee
               reimbursement, and/or financial assistance in exchange for developing very
               low-income units. The Impact fee reimbursements, fee waivers, and financial
               assistance shall collectively be referred to as "Housing De11elopment
               Incentives.•

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         3.    Although Strategy V is not 6mited to affordable housing developments, the
               Housing Development Incentives will need to be combined with another
               subsidy program in order to· achieve affordability for very low-income
               households.
        4.    The City will reimburse the developer for the agreed upon amount of Housing
              Development Incentives upon occupancy of the very low income units and
               eligibility verification of the unit and occupant.
         5.   The affordablllty period for Vf'SY low-income units shall be the greater of 20
              years or, if the owner is participating in another public or private entity's
              housing program, the guidelines of that entity's program.
        6.    For-sale very low-income houses shall be tracked with a deed restriction.
        7.    Very low-income rentals shall be tracked through the City's property inventory
              system recommended in Strategy II.
        8.    The DWntmi of very low-income rentals will annually submit eligibility along v.;th
              a $25 fee per unit to the monitoring agency. H the infonnatlon is available
              from another monitoring source, the owner can substitute that entity's
              monitoring certification and pay no fee.
        9.    For-sale, very low-income units shall have the subsidy forgiven at the rate of
              1120th annually. If the home is resold prior to the 20th year the owner shall
              repay a pro-ration of the subsidy to the City's affordable housing fund.
       10.    One and two bedroom units that are affordable to persons below 40% of the
              AMI shaU be reimbursed at a rate of 100% of the Housing Development
              Incentives per quaHfying unit
       11.    Three and four bedroom, two bathroom units that are affordable to peraons
              below 40% of the AMI, shall be reimbursed at a rate of 150% of the Housing
              Development Incentives per qualifying unit.
       12.    For units affordable to person below 30% of the AMI. Housing Development
              Incentives will be doubled.
       13.    No more than 50% of the units in a development may receive Housing
              Development Incentives.
Strategy VI.    Additional Financial Contributions
        1.      Alternative or additional financial incentives to for-profit and nonprofit
                affordable housing developers would be on a case by case basis as
                recommended by the CAHAB and approved by the City. Examples would be
                land grants, low-interest loans, property tax abatement, and or Infrastructure
                assistance.
        2.      The City will complete legal research to detennine if property tax abatement
                is allowed for affordable housing projects under State law. If so, the City will
                make any changes necessary to local laws to permit this option to be made
                available.
        3.      Toe City will welcome anyfinancial data made avanable by for-profit and non-
                profit affordable housing developers that will help the City determine the
                amount of financial Incentives/assistance needed to make It possible for the
                private market to respond to the City's high-priority housing needs.
strategy VII.   City Partlt:lpatlon
       1.       The City of Bozeman will dedicate a minimum of $200,000 annually to the
                Community Affordable Housing Fund.
        2.      To assist with the annual affordable housing funding commitment, the City will
                dedicate at least 50% of economic development impact fees collected from
                Big Box stores to the Community Affordable Housing Fund.
Strategy VIII. City Land
      1.       Should the City receive property of 1O acres or more not eannarked for
                another use, a priority for the use of the property shall be a model subdivision
                designed to showcase the development goals of the 2020 plan.



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StramgylX.   Biennial Review, Sunset Provision
      1.     Biennally after adoption, the CAHAB, in conjunction with City staff, shall review
             the City's affordable housing priorities and strategies and make
             recommendations to the Commission as necessary to meet the City's
             affordable housing needs and goals, as identified in the 2828 Plan City's
             adopted growth po&cy, 1he 2003 Housing Needs Assessment, and any
             subsequent needs assessments prepared for the City.
      2.     A sunset clause will be included in ordinances and code revisions adopted to
             implement strategies II and Ill to ensure mandatory review and timely revision
             of housing policies in response to changing housing needs. (The sunset
           · clause should specify a five-year period or an alternate length of time to be
             detennined through discussion among City staff, the City Commission, and the
             CAHAB, with pubUo input from the building industry and other interested
             organizations.)
SlrategyX.      Business Plan, Long-term Funding Stream                                    .
       1.       Upon City adoption of Affordable Housing Strategies and ordinances, the
               CAHAB will work with City staff to complete a business plan regarding annual
               and five-year budget needs; funding sources (grants, big box fl.rid, general
               fund, housing loan repayments, etc.); staffing; and so forth.
        2.     The CAHAB will work with City staff, the City Commission, and interested
               organizations to create a reliable long-term funding stream for the Affordable
               Housing Fund, to ensure a base of predictable funding for the first-time home
               buyers' program and for rental housing. One intent will be to strive to reduce
               the level of City General Fund commitment necessary to maintain the City's
               affordable housing programs through diversification of funding sources and,
               if possible, eventual endowment of the Housing Fund.
       3.      The City, in cooperation with other interested organizations, will aggressively
               pursue grants to help with affordable housing.
Suategy XI.    Addtuona/ Potential Actions for Resean:h and Consldel8tlon
        1.     The City will review the purposes of the Design Review Board and oonsider
               the advantage& and disadvantages of redefining Its purposes-such as shifting
               its development review responsibilities to staff-or eliminating the board. If the
               City chooses to redefine the role of the DRS, it will not eliminate DRS
               development review only for affordable housing projects, 1Nhich need to
               receive the same degree of-review as all housing projects.
       2.      The City will consider a guaranteed timeframe for review and approval of
               affordable housing projeds.
       3.      The CAHAB, in cooperation with City staff, will assess establishing a residency
               requirement for the home buyers' program, and a possible provision regarding
               full-time students, and make a recommendation to the City Commission.
       4.      The City will research the legality of selling parcels of long-unused, perhaps
               lmpractlcally located or sized parkland. or of buUding affordable housing on
               them.
       5.      The City, in cooperation with any Interested local organizations, WiU consider
               developing a kiosk or referral service for affordable units to make it easy for
               very low-income and low-income residents to find housing In their price range
               without developers of this housing needing to spend slgnificant sums on
               marketing.




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                                                        20 E Olive St; Ste.208'"' PO Box 1230
                                                                   l;lozeman MT 59771-1230
                                                       PH: 406,$32.2931 • FAX: 406.582.2256




May 20,.2011                           Certified   Letter Number 70071490000375897258

Patel Thomp59n
1627,W. Main SL Suite 155
Bozeman, Ml 59715
Re;Bµilding Permil#OS-7435 at2988 Bla.ckbirci Dr.

The purpose of this lett~r isto advise you ltiat.bullding permit:#08-7435 expired oh Augusf 24.
2010; due tQ in~ctivi!Y an the prpje<;:t. You are further.advised that the. temporary certificate of
occup1=1ncy issued for the basement has been revoked by the ·Chi~f Building Official.

This! letter shall setve 8!! a NOTICE OF VIOLATION of the Administrative Rules of Montana, the
Bozei:nan Municipal Code and State adopted 2009 Building Codes.

The 2006 lnlenialional Residential Co(!e Section R107 Temporary Structures and U;;es,
R107,, 1., stales: Th9 building offiGial is authqrized lo issue a,permitfor /emporwy structures and
temporary uses. Such permits shall be Htnited as to time c!, $&Nice, but shall not be pennitted
fot more than 180 days. The bu/lding officiaf is authorized to grant extensioris'for demonstratacr
cau~:

The .2006 International Residential GOQe Section R110 Certificate of Occupancy, R110.5
Revoca\iop, states: The, bµifding offl.ci~ shall, In writing, suspend or revo!ce a certificate· of
~p11pan9y issued under the provisions of this code wherever- the certificate is issued in error,. or
on the' basis. of inconect' in/oimation wpplied, or wljere it is determined that. the building or
structure or potion therof is in· violation of~my ordinance or regulation or any oftlie provisions of
tliisrode.

Thfs •letter·serves as a nptice .the 180 ctWs
                                          have passed, therefore the certificate .of occupancy
issuecffor the basem·enthas been revoked.                                                   ·




The last approved Inspection for the house was on February 26, 2010, which means pennit #06-
7~5 has e~pi~d.

 Section 15.02.020 of the Administrative Rules of Montana and Section 105.5 of the 2006
 lri~maliorial Resk;lentiai C!>de states: "Every permit klsued shaU become invtilld ff the work
.authorized by such permit is suspended or abar:idoned for a period of 180 days after the time
the worlds romm·enced.




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Bo~man Muni~ipal Code and Administrative Rules of Montana, 15.02.020, C-2,.states: In order
to renew. ar;lion on an expired perm,l, a new pennit shall first be obtained and the fee therefore
shall be one-half the aniount required for _a new permit for such _work, provided no changes have
f/een ma<!e or will Pe rr,;,de in the original plans and sper;ifications for sur;h work, and provided
;u,ther tnat sur;h suspension or abandonment has not exceeded one year.
BozeinarrMunlclpal Code and Admini$1rative Ru!es of Montana, 15.02.020, C-,3, states: In order
to renew action on a permit airer expiraiion, (exceeding one yearj the permit tee shall pay 13 new
fuUpermil fee.

Since the expiration has not exceEi9ed one year the fee to renew permit #08-7435 is one-half
the amount. which equals S7.34.50.

The house has not received a final inspection or a certificate of occupancy, therefore use or
sto_rage of any kind in the house is a violation of the Bozeman !l,'luhicipal Code and
Administrative Rules of Montana, Section 1_, F-2, 15.02.010,, Move-in piicir to issuance of a
Certificate of Occupar,i9y. When ·an :occup;1nt moves· iil(Q a structure prfor to Certificate of
OcctJpanc;y being lssiied by the building irlspector, a llrinspection fee shall be assessed against
the previously issued permft. Such fees are based on the extra time exp'e(lded, inultiplie(f by the
building·insper;tors total /ioutty rate. This additional fee is to be paid to the Division p_tjor to any
hfrth_er inspections being made by tht:;. bqilding inspector to the site. 7he re-inspection fee Is to
be based on a minimum-time of2 hours. which is$75.00 an hour, equaling $150.00.

The' City of Bozeman would like to resol~ this matter as soon ·as possible. Your cooperation is
greatly appreciated. Pl~se visit our off~ by June 3, 2011 to renew pe·rmit#OB-7435. Failure to
comply by June 3, 20.11, will result in further fees being assessed.

Follpwing the renewa_l of permit #08°7435, the building division Will grant 30 days tci complete
the,liouse, disr;ontinue occupancy of the basement and remove the basement kitchen.


Thnk you for your promptattention-to this matter,


-f~~/
  Froj~J ~)' _
 P;;iula
 Code Enforcement Officer, Building Inspection Division
 Copy: Bob Risk, Chief Building Official   a2-




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                                                                           20 E Olive Street STE 208 • PO B_ox 1230
                                                                                           .Bozeman, MT 59771-1230
                                                                         Phone: {406) 582-2375 • Fax: (406) 582-2256



         June 9, 2011

         Peter Thompson, Property Owner
         2988 Blackbird Drive
         Bozeman, MT 59718

         RE:    Building Permit Number08·7435
                2~88 Blackbird r;>rive

          The_purpose of this letter is to outline and st_rike a,:i agreement _between Peter Thompson an_d the City ~f
          Bozeman Buildlng Division which will allow safe occupancy of a basement dwelll~-unlt located under a
          new house that Is currently under construction during the flnal·constructlon phases of that dwelling
         ·which is located at the above referenced address.

         Our intention is to work with the property owner in the attempt to approve a temporary occupancy of
         the ba~ment dw~lling unit ~ncl the ga1o1ge as all~d by IRC-Se[!:ion.Rll0.4 Temporary occupancy
         which states, "The-building. official is authorized to Issue a temporary certificotf'! of octupancy before the
                                                                                             or
         completion of the entire work covered by the permit, provided that such portion portions shall be
         occupied safely. The building offidal shall set a time· period during which. the temporary certificate of
         occupancy is valid. u

         Please be advised that at this time building permit# 08-7435 fl; expired and that no occupancy or use of
         any kind is currently approved for the structure.

         Because the above referenced structure is still under construction it is currently deemed to be unsafe
         and Inappropriate for any use or occupancy.

         IBCSection 116.1 Conditions states; "Structures or existing equipment that are or hereafter become
         unscife,
           .      "Insanitary ar.d(!ficienr because of
                                                    - Inadequate means of egress facilitie., inadequate light and
         ventilation, or which ~onstitute a fire hazard, or ore otherwise dangerous to human life or the public
         welf_ore, or.that Involve illf'!gol or improper occupancy or inodequare maintenance, shall be deemed an
         unsafe condition. Unsafe structures shall be token down and remaved or mode safe, as the building
         ofjfiio/ deems necessary and as provided far in this section.• ·

         Due to the unusual and-extenuating circumstances involving this project, the buildlng division is
         prepared to service the expired building per111lt for a period oflS·months (December zo, 2013)
         providing all of the fgllowing conditions are met.

         The'Structure;
               1. The living area must be completely separated from any areas still under construction by a full
                  one hour fire rated assembly.
               2. The required exitfrom the living area must go directly to the exterior of the structure and may
                  not pass throµgh ahy areas that are stHI under construction,

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   3_ All requi(ed smoke d~te!=_lors In all areas of the structure, induding areas still under
        construction, must be interconnected and fullv operational,
   4.   rilo storage of any kind other than cc,nstructiim materials will be permitted in any area of the
        structure that has not been com11leted a11d p_assed the required final inspection.
   ·-5. The garage may_be completed and 11sed to store personal Items not considered to be
        construction materials; A full one hour fire ~paration betV,(een the ga~ge ahd the rest of the
        str1,1cture and a fin\11 insp!!ction of tlie garage by the building division will iie required prior fa
        the garage being used for any storage purposes.
    6. Complete all correci:lons resulting from the onsite h1spection which occurred on June 8, 2011
        that was conducted by Paula Frojae and Tim McGough. (See attached correction list)

                All of the above conditions.must be met no later tJl;in June 30, 2011.

The Plans;
   1. Provide a revised "as built" plans (2 copies) fi:,r the house and garage that incorporates all
       revisions and any.deviations from the:orlglnal approved set of plans.
           • All changes to the plans may be han~_drawn but mf.!S~ be drawn to the same scale as the
               main plan sheet and must be fully dimensioned.
           • There will be no •red lines" on the revise/I plans and ;ill revisions and deviations from
               the original p_lans myst bedearty identified ori the new revised plans by clo.uding the
               area where.the change occurs. A.narrative·e]!plaining the chi!nge may also ~e requir~a •
   .2. The revise!! pla.ns shalt include cqmj>lete plaris for any d1kks 'that will be attached to the
       dwelling. The decl< plans must include;_
           • An accurate ancj fully qimensioned locatlon on the site plan.
           • A section drawing from the foundation to the top of the handrails that identifies all
               structural components ofthe deck including the foundation.
            • Details ror all structural connections including, foundation to post, post to beam, beam
               to floor joists, floor joists to ledger, ledger to hou_se, and safety raiUngs-to the deck
               structure.
    3. A building division plan review for the new "as built" set of plans is req~_ired. The fee for that
       review will be calc1Jlated on al) hourly basis based on the-building division hourly rate.of$75 per
       hour.
    4. Provide currentmailing address ancl phone number to update building permit info.

                 All of the above conditions ffl\lst be met prior to co·nducting any further Inspections on
                 this project, but no later than June 30, 2011.

Future Inspections:
    1. Even though the;building permit has eKpired, all required Inspections will be conductea c,nd
        documented by the building division as if the building permit was val[d for a period of 18 months
        which equates,t~ December 20, 2013.
    2_ Inspection fees.will be·required for the remainder of the required insp~ions on this exp_lred
        building permit. The inspection fee will be calculated on an hourly basis per the building division
        hourly rate·ot $75, with a one hour minimum. This inspection fee will also apply to onsite
        consultatio_n requests- All Inspection and consultation fees must be paid prior to being
        scheduled.




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       3_ DJJrJng the 1~ mA!itfi.agr~ement P.erttfd t!ie .btiildin!l ·division tooe erifofcen'ienrofficer will make .
                                                        ,      '          , .,   l       ..           '
          ainonttily site'inspection to:verify C<1mpliance with 'the flre and_ lif_e s_af_ety r.ml!Jir~m~n~ of this
          agreement. f!1e $~5 inspectioiifee\vm :l?e ~\lived for tl\ls mo.rithly.inspectioii.


"f!lis·le~er ~h~ll aisp serve as ii Notice of Violation as required by IRC,Section RlB-2 N.ot)ce cif violat!qn
 wh(ch s~ates, '7he build(qg officio/ ~ outlJori{ed to serve a 'ilotic.e 'ofvioliitiori of ofdef i:l1i .the person·
 f~lio,i]~ilile,fdr the:ereition, toifsttuttion; alteration, extension, ,repair; moving, removof; demofltion'Qf
'QCCUP(lflO/ of o building,qr·structure In viQJ,oii.Ofl of the PfOl(~io¼ eff th~ r:gde/o"/n Wolot_ii:in ~f ri detail
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pro~fsions ofthis,code)Sur:h order shall, direct the ,discontif!udncifbfthe illegalactioil or condition ant!,
the
 . .,.abatement
        ~     . of the violtitibil.
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                                    n.



Th~JJniil i_!'iskedion f~r'•tfi~.Ecir:fiplete str!lctifremust be called foi' aild completed·on.or before
December 20, 2013.

If the final inspectio.11-hali notiieencomplete9,and the rf.!ql!ir:e.d certifigife ofocC11pJi'IPf has no.t been
i~~~.    jlTiev,, jiu_ildl[ig permi~ will be re~'i1ired for'this pfoject.

i9_p~~a1n tl:!e new]:iu.l[~iiig,:pei'rr)it, anew peririit-appficatio,tpatkage must be submitted and air
a11plrcable permit feeslor the ne~·permit musfbe paid.~ part.of ~ht; fl!'"'! p,e~mit.~pplJc~tl_on;pa_c!(age;
ne~;P.l~rjs,tli!lt r~flec_t'the recj~irements'ofthe current code thatds effect at the time of,the new permit
.appl\cation.



                         (!itlon!i'anil timelinl!$ a, listed above:



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I .have received but do· not agree.to t~ coni,litio~ anchl"!eli!le1fl!5tei;I above:



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       Bo~.Rlsk,'Chlef Bulldlrig Official- City of lkiEetriiin
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                            l'e,er T.hampson
 Case 2:18-cv-00075-BMM-JCL Document      1 Filed 11/30/18 Page 108 of 120
                                        2!>88 Blackbird Drive
                                      Ratenwn Monmnn 59718·
CelLPhoo.- -\06-570-0268                                         . En111il: Thompson0089:,limsn.ctim

Friday. March 23,,2012                                                        Delivered by Harid

Gattail Creek C6mlllt!riity Association
Tl'a',ljs Munter, President

.406 581 9663

·oear'Sergeant
  '•
               Munter, Badge.# 151;

RecenUy, I wtis'al the.courthouse doing ,some research and wa,s,surprised io.find•lhe
attached Ii~ docullJl:Jnt(see attachment A).

As we do check ourmaif at the address above regularly and sqmewhat freq1,19nlly a! a maU
box service located at 1627 West Main Street. I went directly to our west main         ~lr'Elet mail
box ari_,:i found no notice of service there;
So we have receiyed no nolk.e of service of lien as your reP,resentativ'e Nathan Minr:iick has
asserted .in his lien filing and ii was pure happenstance tliat I have receivep il

However, provided_,y!lll[ lien dated 02/1612012: included nothing but the document attached
rerewith: you Cc10 ,consider your lien coc~merit accurately recorded - as to     an~
                                                                                only:in that
.~ have pbtainec,a copy of ,the lien recording, seen as attachment'A. herewith.

Also attached herewith is attachment B: It ls en excerpt from my recent letter .In Above and
Bi;!ybiid Property Management discussing my issues that I reel were poolly handled by
.Cattail Creek Community Association when they occurred, remain -unresolved·today and
h~ direct bearing.on Mr. Minnicks lieh fifing .

.In 200.8 we received'bilHng from Pea~ inc!uc!ing HOA due:. for 6 months prior lo        the
 purchase of our lot; l set the bill aside and· planned cm giving them, a call. In the mean time
~ey   left·an unfriendly message on rny·answering mach.ine.thre.atening 19 file l{Qn on my
'property if their bill was not paid immediately. We turned the·other cheek and paid the biU
 without any protest.

 -'une 1O, 2009 Peak .Property. Management d?!ted a letter threatening fines an.d ·held it until
 Julie 16"' before mailing il(see.att,i<:hment .CJ, Peak's letter ,also threatene<f to ~me or:ito our
,property. take care of the weeds, biR meJor the work and fl(le us 120 dollars if the \\fOrk was
'.ryot complete by June 22"'. Again we.turned the other cheek, I paid e!dra for{ast. acting
:Rol!ndup and gptWeee!S spr;iyed. I drove by the day before Peak's deadline and saw the
•weeds were burnt li!lld wilting. I was relie).'ed we had mEitthe (!eadline: NEixtweekwhen I
•got'tiack· to worn on the hous!,l, the ~! w,as .mowed. later i received a 200 dollar blli nom the
·city for the mowing. Again we turned the other cheek E!fld paid the biU.                 ·

•H.a~.ing someone enter your private property and do damage is mare than frustrating.

 The ~ s were mowed sQ short we·had to take the top 6 inches of dirt off'all the mowed
:are'as lo remove·the underground R10ls and then sort ouf.t~e grub pile and r!igrade:the entire
 li>t o·ur plan had 11elm lo Row1dup thewel:!de killing t~n:i (;Ind then with their uppe\, plant
.material still in place, we could canvas the lot with skid steer and all weed .an!'.l·roo.t material
 11V6tild clean up ea~ly. This apprpach would have avoided forcing us to gnib the. entire lot
 ang regrade. Again, we turned the other'ch.eek and mov!l(I on.                              ·




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For a y.,IJile
           Casethe Cattail Creek Community As~ociation
                   2:18-cv-00075-BMM-JCL               seemed
                                                Document    1 toFiled
                                                                 be l~aving us alone,
                                                                      11/30/18    Pagethen109
                                                                                           in October
                                                                                              of 120 of
2010 they. started up again With door hangers, I ca&ed Peak and spc:i~e with someon~.·- see comments in
attachment B about this.

For i;ingther while. the Cattail Greek Community Association see.med to be leaving us <!kine.
Then mid summer of 2011 they started up again. See attachment B

Instead Qfgetling the wriltl!n response requested and assured from•AbQve and Beyond as c!escribed .in
attacllment B:

Officer ij.lck Musson Badge # 166 arrived at rny h.o\lse secrelly weatihg a wire and recorded his interrogation
of mewl.th an accusaiory !ityle of questioning, pointedly a$king rny wife and I about :vandalized trees in the
Park.

 Being interrogated in my drive\li9y while the neighbors(some board members) watched. and _probably
                          a
sniggered smugly, was very publ.ic and llurru1,iating experience for my wife and I. We haYEj similar feelings
wlle.n I search the internet arid find copies of Nathan Minnick's 1!a\,ved work done.on the behalf of Cattail ·
:Creek Community Association.

After gemng the· runaround, aUhe PD.while asking .for a copy cf Ml,lsson's report and-making 3 diffe!<)nt(rips
and requesfs, even(ually oh July 8, 2011 Judge Holly Brown issued a court order ror the Police Department
that yoµ vmrklor, to.ieIease·omcerMusso11·s reportto me.

Around this. tiine I .did also l:lbil;liil a copy of ltie,poJlce report we file(:! regl!rdlng va11daIs·wt1o:had deve!o~d
the ha bit of throwing eggs at- our house. and cars.                                                               ·    ·

VVlien I went to.Above and Beyond. l was giving notice of complalntand fair warning that,we felt wronged.
                                                                                                  1
and woukl ~k legal remedies if Cattail Creek Community Association continued with their selective
enfc~rn.ent of co~nanis: ln an effort to openly resolve ~e problem without legal rim:iedies; I specifically
asked for•a written response l!l3 ,a ~ of docum.eriting issµe and geti/ng it iesolv!Hl. Twi$1irig this effort
around ·to making me a person if interest in .euttlng down 18 trees in the park ls .ridlcut.ous and can only be
seen as passive aggressive behavio by petty and mean spirited people.

De_llb~rately_ choosing. notto malie a written ~po')se to issues ~ requested and filing_ a lie11 without making
any effort resolve prol:ll.l;!Q'l thru gir~t communication, can also ~ seen as the actions of bullies ,and or
petty'and•or mean spiriled people.                                                             ·

Knowing Above and Beyond to be professionals, we ·are.certain they relayed alUssues to you personaliy as
detaiiecl in the·att.iched letter. It is ap·parent to 1.u;that you and the cattail Creek Comn'iunil'/ Association
were fuistrated about bl;ling challenged reg~rding;the fairness of your actions agalnsfus. we can see that
yoJI failed to make a direcj response and Inste,!d the Cattail Cr~k.Coinmunity Associs1uon slana.ered us fo
the j)o·m:e·department .and this -resullea in the humiliating interrogation in our dnveway in front of your feilow
board IT,leinbel's.

For-years now, my wife and l check uur house and cars for eggs, we often looli at our door kncib·with a
sinking expectc!ncy and seri~,of dread whem ever we pull in into the ·driveway: we cannot help but.to wonder
whatwill came next. Addi_tlonally, we. cringe wiUi a twinge of fe~r                        as-we
                                                                           8eEi the daily black<and white patrols.
of the· neighborhood as·wewonderwhat the Cattail Creek Community Association mig~t imagine to slander
us with again. Especially, now that, in lieu of any proper written response from Catuiil Creek Community
Association, we are making cur O\.~n efforts to directly call you out and address this.issue formally and in
writii!ig;.               ·


Does lhe Cattail Creek Community tssociation wish to withdraw your threat to ente_rgur private property,
take actfons necessary to improve the appearance of our privale property to bring it. in-compliance as
tiireate.tied in your 4-28-201) letter? I feel compelled to ask as this same letter aiso included the other



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                                                J.:.I ...,. J. J. ..L .1...1 ..L '-   .L •
           Case
thre.it that       2:18-cv-00075-BMM-JCL
              you have                            Document
                        recently made good on to fine us for the1use
                                                                   Filed 11/30/18
                                                                     of our            Page
                                                                            horse trailer     110 of 120
                                                                                          on,our·active and
pen:nit:tecl construction ~ite.

Agairi,   to,: :!I _while the Cattail '<;:reek Community Association left us alone, bul recentiy we .have receiV!!d a
series of door hangers, sµrhe threatening_ fines .via community member Peter.

we will ff;!ply specif~lly tq ea<;h item that I recan r~rn ihe recent rash of door hangers via cattail Creek
Community Association's representative. GQ(llr11unity Team membei Peter

1; X Remove RV, tra11er, boat ·or snowmobile from housrng community.
         A:., See attachm.ent B - Issue previously discussed with Peat< Ilia phone stating we were tllen and ere
now a permittlld construdion's!te and U!ie of hoi:se trailers for construction related work is commoo.
         B:,S1;tt1 attai;hme.nt B-l~ue previously ci'1S1,ussed with At,ove.and Beyond Pr<iperty:Management
and··I have beenwaiting,for,your written reply,!1ince J\me of 2011.
         C; we are in Montana, 'Gallatin Countv;where thf;lre have ¢teri been m<ire );lof!ies than people, is-a
horse trailer parked lri a driveway really an issue? The ~ty of Bo~n. I think. .o.f.!ll:l one of'the mpst
over~a~ng small governments I have ever seen. Does the city have rules ag;1lnst l)llrKll\g a horse uailePilJ
a-driveviay?
          D, Would you stop rnirassi~ me ab<iut:the horse trailer if I R<)rk it on the roa·d1

 2: X other Remove StorageJ::ontainer + Clean up wood pile
          A: stori,l'ge container-Issue is similar ta horse trailer and the ;,nswer provided Peak in 201 0 :ihoulp
 nave suffieed lhru today: AnsWer·previously provide.Above and Beyond in 2011 is just as gqod and should
 suffice tjiru !9day:. Ag.iin h9re.inwnting for your easy reference is an ansvver lhatshouk:I suffice into the
future: We are currently under construction arid use of horse trailers arid or containers on: constructi,m sites
·1s common,                 · ·
          .B: Storage containE¥•Wlil not remain cm siJe when construction Is i,;omplete.
           C: the wood pile is a mystery to me. I .have seen others around the ·neighborhilod for jears anr;I dQ
 notrecall   ihein o'E!ing addressed in the covenants. When we fi(St received notice lhreatening·fines abo1,1t the
,wood pile, I was out ,pftowri and my wife.was very upset about the ·notice of fine·. I told her, you have a bad
 bac;k, thece. is npthing in th~ qovenarits aboll\ wood piles, cilherwood piles are in sight from our house; do
 nothing :a·Ad I wnt har:i.dle It wh.en I gel home.                        ·
           D: Bythe time I C111J18 home the wood pile had been carr/e¢.i11side. Sever.II weeks l_aterwe again
 received a door hanger·thteatenlng a fine for ·the now nonexislentwood pile.
           E::Please provide·some more Information on cattail Creek ,Community Ass.oclalion's issues With
 wood pil~s in general and spe'cific.illy how it relates to the one on my property whEln-itwas outside of the
 g<1rage and explain why Caltllil Creek Community :Association threatened to fine us when the:wood plle wa.s
.inside the garage.
          •:  Iioes Cattail Creek Community Assm;iatipn l!ave rule~ against wood stove!; and pr wood piles:
 that I tni~.ht be unaware ol?


For the record,, If you send'.a bill IQ the address previously stated. iri 20.10 to Peak Management, again in
20.1 rto.;"Above and Beyond ·Managementand..contained herein.the hf;lader of-this letter and thi.sb.iD was for'
dues or)iy and youf bill provides an accounting of past payments recelveQ from me ba(:k ihru 2008, I .wo·u1d·
pay It ii) fiJJI w\lhin 60 to.·so days,

Furthermore, if you continue to s(lnd tiills to the address descriooct in the paragraph above for dues only, I
will conUnue to pay them prompUy.

Essentialiy, we are unwi!Ung to pay late fees fpr b~ls. sent \o the W!Qng address which we nave nol.r9a.!ived.
We are tiliWilllng to pay fines or late fee's regarding any issues th.it we have previousjy,.addressed (as sfi!led
In attalihrnent B) that you have failed to make a direct response. to:sih.ce July of ·2011.

~incerely
Peter-T~pmpson



                                                         Page 110 of 120
                                                       r:., Xll..!..1.J .l. L                       .l. •
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                                                                                            H1un,:~·.\\-.'ttcr--s' ~\-_o;So\...x-1:,,In 1tt ,.




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                            f'c1cr TI1ompson
 Case 2:18-cv-00075-BMM-JCL Document      1 Filed 11/30/18 Page 112 of 120
                                       2988 Dlacl<bird Dri,·c
                                      Bozem~n. Mon1:1na ~971 S
Cell l'hO)le 406-570-0268                                                        Email: l1u>m1>wnll089rf!'msn.com

Wednesday 3-21-2012

Above & Beyond Property Management                                                   Delivered by Hand
Bozeman, MT 59718
406 551 - 2093

To whom it may concern:

I was in and spoke with one of your folks, probably Alisha late May maybe early June of 2011 .

I was at your office in response lo letter endeavoring to enforce coven,mts agai11st me in ways
tliat I fett were unfair and not correctly interpreted and also to provide my co~ct mail address for
t~e second lime, so as I might receive mail from the .HOA when it was sent to me.

The topics we discussed are as follows:

I was frustrated with previous Property Management company as I had already given them my
change of address over the pt.one and mail stin went to a house that sadly had been foreclosed
on in 201 o; almost a Ml year in the past.

I was asking for copies,of any door hangers from Peak as I could not find them and was collecting
information ti:J present lo a lawyerto tall,:about.se!ective enfortement of the·covenants
constituting harassment • Alisha made a good effort but found· none.

I remember ·calling Peak back about the door hangers and -telling them I was a p1mnitted
construction site and the neatest- one I had ever seen and· my feelings were hurt \h;:it they ~t
otherwise. I was told I would ~et call back. from person who set door hanger to hear their point DI
view - I never did hear enythi1 .g back.

We talked about timing end construction: One year to complete

I !)ointed out that first off, during plan review - I had told Rob Pertzboume, my estimate show~
18 months of constr{!ction time if I managed to work 60 hours-pet week. In conversation Mr.
 Pertz~ourne. was friendly and hetpfull pointing out that the covenants had a clause that s_aid if dty
.rules conflicted with covenants, city rules superseded covenants, So. as long as-I tiad active
 build_ihg permit there was no iSSU8 and even so there were other building out there that had taken
 longer than a_year.

I gave some   examples of projects in area that I had noticed taking more than a year to Alisha in
this meeting:

In effect I feel I had given you fair notice that t would see continued notice of Timing and
Construction complaints·as harassment.


lwent·to my car and drug up the cpvenat1ts I had receivedatclosing·and pqln\ed out that they
were different thah the ones Alisha was showing me in your office. As I recall the ones in your
office• said more like no trailers.

The ones I had said nD recreational vehicles and I felt it was a stretch to apply rules·about
tecreattonal vehicles IP trailer. .

I showed pies of many other trailers in area and also pointed out-that even ii we were talking
aboufno trailers. my pits showed other 1raile'rs in place for years and that typically voids lhe




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covenants .and is pretty much the definltion of harassment via selec~ve enforcement of the
Covenants.

In effect I feel I had given you fair notice !hat I would Sl!e confinued notiee of Trailer cor:nplaints as
hl:lrassment


I showed Alisha our address ~nd she noticed it was the address where these complaints had
originated, I pointed out we had been receiving our mail at this·address ·since 2009. Ironically,
now in 2012 the HOA continues to send their mail for me else where.

l?omewhere in the .lileeling i painted out that my trailer remained on siia and if I was to be firied
over ii please do it soon so I would know to proceecl.1vith defending mysell
Ai   the close .of !he. riiii~ng 1asked ior"a'wri~en reponse   to-foe    .fssues and heard i would have a .
response in about a week.
1· assume someone at .your office gave an accounting iif'our meeting simiiar to         my   note abo\ie - ..
directly to Travis Munter.
I 'fiave never receiveci an Jette, from your office regarding iheseissues after our· meeting. I
assume the response was left for Travis to handle - Please clarify who you told about our
meeting  .
           and how
                 -----              ___
                      you.were instructed....__to handle my expected
                                                               --~---.. ~ponse.

Rec.entiy while at the Courthouse doing research on another mailer. I noticed Minnick had filed a
lien on my house.

The lien claimaj to have given notice via mail, but thi.s was ihlil farst I had heard of it.

This Uen appears to have nothing but late fee's for bills l did not get and also includes a fine
based on your letters to me discussed abQve - Hence. this long and detailed note to you looking
for help and information.

Thanks for your ~me in hearing me out your patience and help
Sincerely
Peter Thompson




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               r1:•ins1.>cc1ing l':11tail Creek C,-,111m11ni1y li.•r 1-..,,i, 11,-- wc•cds and ,khn:; dc:m up. 1r1hi,
               pn,bl,·111 !ms not hct.·n prnpnly resolved_ (.':111:,il ( 'rn-~ ;\~,t,ciaiion will l,;,vc y_our l,11
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                                                            City o.f Bozeman
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                                                       City Attorney's Office                                     Kylll i\lm·,:11)·._.51~,ffAttonrty
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                                                                March 15.1013

               HAND PELIYERED

               Peter Thompson
               2988 Blackbird Drive
               Bozeman, Mi 59718

               RE: Building Dhuioo violation~ at 2988 Blackbird Drive

               Mr, Thompso11,

               The agr@ment you signed with Chief Building Official Bob Risk on June 9, 2011 allowed you lo
               .contii1ue work <in the structure al the llbove address without a current building perm.it Now that
                the a~ent .has expired you must o~taiil a new building p~it to do any add.itional work. on
                the stnii:±ure. Any work on the property after December 20,.2012 without a valid building pennit
                is a violation oflntcmational R,esidenrial Code (!RC) § R IOS.l (2006).

               ln addition, the agreemeilt·allo,ved you .lei occupy the basement of the structure·wilh a temporary
               cenificate of occuj)alicy. Now that the agreement has expired, you are 0CC11pying the structure
               illegally pursuant to IRC. § R 110.1.

               Violi!l.ions of the International Residential Code 3!'e enforceable against the.property owner for
               eacl, d!l)' q violatiu11 exis,s. § 10.02.010 Bozeman Municipal' Code. Violations of the Bozeman
               Municipal Code are subject to the municipal code· s general peoalty:

               '§L0_l.210 G.cm:nil- Pc1mlty for Code Vlofadons.
                           Unless othenvise specific-.illy prO'\ided in the Bozeman Municipal Code, any person,
                          firm or corporation, their il~cnts or servants, who violates any of the provisi9ns of the
                          Bozeman Municjpnl Code shall be deemed guilty ofa mis~em~nor and, upon conviction
                          thereof, shall be punished by a: fine in,any sum not exceeding S500.00 or by
                          imprisonment for a period not ex,ceeding sb; months, or both such fine and imprisonment,
                          and in addition shall pay all costs and expe~ of tlie Clllie. A ,uparate offe11se shaff be
                          ·deem eel com milted upo11 eacl, cla;v di1ring m· 011 wliic;lr u violutio11 occws ,or co11ri1111e1,.

               Iii order to come intci compliance with the International Residential Code, you must immediately-
                comply \Vith the folloiving. You must obtain 11 new building permit for 291!1! Blackbird Drive.
                from the Building J;:>cpartment by March 29, 2013. Along with the issuance of the building
               'permi~ the City will issue you a m;w temporary certificate Qf occupancy for the basement only.
                This certificate ,viii not include the deck or the use of any other part of the house. This temporary

Sff«I ,1,/,lr.ik,: 121 North R;,,,_,.,                                                                                      Pirolli·: (-IIJ(,) 382-2309
-Mi'lili11., A1/dt,•.v.,, P.O. 8,•x 1230                                                                                       r,u: (406! '.i.~2-2.102
Bo:emtin ..M~mt,ma 59771-1210                                                                                                TDD: /4!)6J 582-23.0}

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certificate of occupancy will he valid for no more than 30 days after issnani:e of the building
permit. At the end of this 30 day period :)'OU must have obtained a filial certificate-of occupancy
FOR THE ENTIRE STRUCTURE.

 If you fail to comply with any of the above, a criminal complaint will be fi_led against you. A
separate criminal complaint may be filed each day that the offenses continue. lfyou fail to obtain
.II new tempor,icy certificate ofoccupl!flCY by obtaining a building pennit by March 29 111 or if you
 !ail to obtain a final certificate o~ occupancy,- in addition to filing criminal charg_es against you
the City will sc:ck a court order requiring you to vacate the entire-slnictun:.

At the time of applying for a new building permit you must make an appointment with the Chief
Building _()flicinl Bob Risk. You can contact him at 582~23 77.

Sincerely,

 I
     fAl·
       t.~
BO~l\i --. CITY ATTORNEY
Kyla C. Murray
City Prosecutor

cc:    Bob Risk. Chief Building Official




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                                 Cattail Creek HomeoMier's Association
                                              PO Box 1254
                                       Bozeman, MT 59771-1254


July 1,2007

Dear Fellow OMters:

 As many of you know, there was an unsuccessful attempt in July 2006 to combine all three phases of the
 Cattail Creek Homeowner'& Association boards into one association. Since then, the three volunteer
 boards of directors have attempted to lay the foundation for the three separate HOA's. Unfortunately,
 there have been many stumbling blocks to this process. There bas been massive duplication in setting
 things up. Many of the vendors and service contractors we will need to deal with are not willing to work
 with three different associations, billing each HOA for their respective portions under the same contract.
.We also feel_~t bJ_~bi~~~g ~-three     y~        into ?_ne ~O~, the yearly dues can be l<__~t to am~~~-

These issues among others, haw brought the boards and the develol"'r back to you, to ask you to please
reconsider the issue of combining the three phases and associations into one association, and making
minor revisions to the covenant documents by combining them into one document which applies to all
phases. Last year's vote was almost unanimous in favor; the only reason the vote did not pass was that
the required percent of homeowners in each phase did not respond. If 75% of the owners in each phase
bad responded, the vote would have passed. This made sense last year, and after struggling with the
problems and issues this year, ii makes even more sense now.

The covenant document changes will be kept specifically to a rninimwn. The only changes that will need
to be made relate to the Design Review fees (having the same fee for all design reviews in Cattail Creek)
and changing the number of the board of directors. A proposed copy of the revised documents is
available for your review; you may contact Sandi Rummel (586-4426) or Allison at lnstrisik, 111 E
Tracy, 582-8933 for a copy of the documents. These changes, concerns or questions you have, and any
issues for the upcoming year will be addressed at a meeting to be held on August 7, 2007 at 7:00 pm at
the Wingate Inn. This will also give you an opportunity to meet the current vohmtcer boards of directors.

Please do not hesitate to contact us with any questions. Ballots may be returned in the enclosed self
addressed, stamped envelope and must he received no later than August IS. Your ballot may be turned in
at the meeting on Angust 7 al the Wingate Inn. If we have do not receive yoUT ballot before Angust 7 or
at .the meeting, we will be contacting you. On August 15,- the cunent boards of directors will count the
ballots.

Thank you for your prompt response to this matter. While thing., are moving along in Cattail Creek,
everyone has an active part in us becoming a: community.


Jaymie Hauer            585-9885                                 Mark Niemi               556-4694
Lola Jeffers            624-6024                                 Sandi Hamilton           580-4364
Sandi Rummel            5864426                                  Dan Madison              SS0-4451
Sonny Greer             581-1312                                 Justin Tribitt           539-1062




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                                                                         -   ---------------------------.

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 J11ly 7, 2007

 Dear Prope,ty Owner:

 SANDAN is extremely pleased with progress of Cmmil Creek SubdivisiOll as one of Bozeman's nicest
 sllbdivlsioos. At this time we have three HOA's in place and we would lite to combine Ille three into one.
 We attempted to set op one HOA last summer, but we were not able to obtain the 75% total ownership to
 qualify for one HOA. SANDAN and the cummt Phase 1-3 Board of DiieclOrs have discussed the issues
 and ha\lC detennined it is in the best interest of the neigbbotlwod to have one HOA. We are working
 together to set the message out and to lay the groundwork necessary for what we hope will be a successful
 meige.

 The HOA officers have met several times lo discuss lhe establishment of ono HOA for Cauail C=k
 Subdivision. We believe it would benefit all of the owners ifwe set up one HOA instead oftbree separate
 associations. The cost to each member would be less and the ease of mainlaining one HOA Instead of
 three would bo very beneficial to everyone.

.Our HOA dues cover.the.loJlqwiug.rost: ....__...

     I.          Llability insurance
     2.          SANDAN Parle and Cattrul Creek Parkway maintenance
     3.          Taxes for the JJIUX and pmkway
     4.          Well utilities
     5.          Irrigation pipe maintenance
     6.          Snow Removal
      7.         Miscellaneous expenses

 If one HOA exists we believe we will be able to keep our HOA dues ID a minim11m. SANDAN and the
 current HOA officers anticipate Ille dues will be $120.00 per unit yearly, but if we have to maintain three
 HOA's the dues will likely be subs!antially higher. You will be billed for 2007 dues after we have voted cm
 the HOA issue. Boause Cattail Creek was established in Phases, there are three separate associations with
 the same responsibilities and obligations to rover the same areas.

 If you have any questions, you may contact any of the followinl', people to discuss the eslllblishment of one
 HOA for all three phases of our subdivision.

 Jaymie Hauer                585-9885         Sonny Greer                581-1312
 Dan Madison                 580-4451         Mark Niemi                 556-4694
 Justin Tn"bitt              539-1062         Lola Jeffers               624-6024
 Sandi Hamilton              580-4364         Samii Rummel               586-4426

--w.....~lu:.iRg"u·e.uail Cnook Subdivision t1all01;Phasesr,n·am1 111 p1us·a1>a11orrofffiecoinbination of··
  the three sets of covenants. by-Jaws and design regulations.

 Please support this consolidation.

 Thank you.

  SANDAN,LLC




 Sandra (Sandi) Hamilton                                        Daniel S. Madison
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                                Exhibit V:

September 18, 2007




Dear Cattail Creek Property Owner.

WE MADE IT!!!! We would like to thank evei;yone for their votes regarding combining
the three phases of our homeowners association into one, we are now one association.
Our official name is the CATIAIL CREEK COMMUNITY ASSOCIATION.

The covenants are being revamped by our attorney and as soon as we have them ready
we'll send out another ballot for their approval. Hopefully this will hap~ within the
next month or so, depending on how quickly she can get them done.

Enclosed is your bill for 2007, you may pay for 6 months or for the full year.     We will
send out future bills in Dea:mber and Jwie.

We might be looking for another board member from Phase       n, so if you are interested in
serving, please contact one of the current board members.

Our Cattail Creek dues are used for park maintenance, well utilities, repairs, snow
removal, irrigation pipe maintenance, insurance and tmces, etc. These dues are separate
from your regular condo dues that are for your individual condo association.
 I
We are having a little bit of confusion as to the property addresses of some of the condos.
The tax records show one address and the post office shows anothei address, so if your
address is incorrect on our bill. please com:ct it and return it with your check.

If you have any questions, please con1act one of your current board members that are
listed below.

Sandi Rummel          586-4426               Sandi Hamilton         580-4364
MarkNeimi             556-4694               Lola Jeffers           624-6024
Justin Tribitt        539-1062               Dan Madison            580-4451
Sonny Greer           581-1312               Jaymie Hauer           585-9885

Thank you.

CAITAIL CREEK COMMUNITY ASSOCIATION

Sandi Hamilton, Treasurer




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     C1111ail Creek Community Assodalion
     POBoxlJB42
     Bo:r:.eman, Mrmtana 59719

                                                                                                             CI\TIAIL CREEK
                                                                                                              Afr;, Saa.l.n,
                                                                                                                    ~ -l~f,..C.
                                                                                                                             ••

       January 2S, 2008



       Dear Owner:
    . _A,ftq _l!!!IDY.__l!l'l!)!l!s__of_review !ffld revisions,_.!he Gattail. Creej( .ColDlll!lflity__A,s~iatj~n. documen~
       consisting of the Bylaws, Covenants and Design Regulations arc ready! Enclosed please find your ballot
       fur voting on the proposed changes as well as a stamped and addressed envelope for returning your
       completed ballot

       The Covenants and Bylaws were amended lo reflect the combining of the three phases/HOA associations
       into one association. These edits include changes to the composition and duties of the Board of Directors,
       voting, membership interests, and assessments.

       There are also several proposed changes to the Design Regulations. One of the changes is to establish the
       same design review fees for all phases. Previously, no design review fees were required in Phase I, one
       design review fee was required for Phase 2, and another design review fee was required for Phase 3.
       With the combination ofaU thn:e phases into one association, the same design review fee will apply to all
       three phases. Other changes· include the clarifications to the design review process, the addition of an
       inspections procedure, and more user-friendly lauguagc.

       The proposed documents need to be voted on by all property owners in all three phases of Cattail Creek
       Community Association. The documents arc available in PDF fonnat, and may be requested via email at
       cattailcree~hoa@hotmail.com. The documents will be sent via return email. fn your email. please
       include your name and property address. Hard copies are also available to borrow or to purchase (at a
       cost of $5.00), and can be requested by contacting fnlrinsik at 406-582-8988. Any questions on the
       documents may be addressed to board members, Jaymie Hauser at 585-9885 or Saudi Hamilton at 580-
       4364c                                   --- ··•      •·· •- • --··· --·-             ... _____ ..   ---····-      ···- ----~-

       Please return your completed ballot in the enclosed addressed and stamped envelope. Please note; all
       ballots must be received no later than March I0, 2008. Please make sure You mail your ballot on time.
       We have had several inquires regarding the vacant Boan! positions for Phase If. We are excited lo ma:t
       with the interested candidates to fill these positions and have a full board serving our association.

       Sincerely,


       Cllltml Cruk Con1munil,1 Association Board Mem/Jus

       Sandi Hamilton, Dan Madison, Justin Tribitt
       Lola Jeffers, Jaymie Hauser, Sandi Rummel




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